                                    ASSET PURCHASE AGREEMENT


                                             By and Among
                DW Jade, LLC, on behalf of one or more affiliates of DW Jade, LLC
                              to be designated by DW Jade, LLC

                                                   and
                                     CLEANING SOLUTIONS, LLC,
                                PARAMOUNT BUILDINGS SOLUTIONS, LLC,
                                 STARLIGHT BUILDING SOLUTIONS, LLC,
                                  and JMS BUILDING SOLUTIONS, LLC
                                                as Sellers




                                      Dated as of September 15, 2017




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                                   ASSET PURCHASE AGREEMENT

         This Asset Purchase Agreement (this "Agreement"), dated as of September 15, 2017 (the
"Agreement Date"), by and among DW Jade, LLC ("Purchaser") on behalf of one or more
affiliates of DW Jade, LLC to be designated by the Purchaser (collectively, the "Purchaser
Designees"), and CLEANING SOLUTIONS, LLC, PARAMOUNT BUILDINGS SOLUTIONS,
LLC, STARLIGHT BUILDING SOLUTIONS, LLC, and JMS BUILDING SOLUTIONS, LLC
(individually a "Seller"; and collectively the "Company" or "Sellers"). Purchaser and the Sellers are
individually referred to herein as a "Party", and collectively as the "Parties". For the purposes of this
Agreement, capitalized terms used herein shall have the meanings set forth herein or in Article I.

                                              R E C I T A L S:

        WHEREAS, on September 15, 2017, each Seller filed a voluntary petition (the "Chapter 11
Petitions") for relief under Chapter 11 of the United States Bankruptcy Code (the "Bankruptcy
Code") in the United States Bankruptcy Court for the District of Arizona (the "Bankruptcy Court")
commencing jointly administered chapter 11 cases under lead case no. 2:17-bk-10867-EPB (the
"Bankruptcy Case").

        WHEREAS, in accordance with Sections 1107 and 1108 of the Bankruptcy Code, each Seller
continues to manage its properties and operate its business as a "debtor-in-possession" under the
jurisdiction of the Bankruptcy Court and in accordance with the applicable provisions of the
Bankruptcy Code;

         WHEREAS, Purchaser desires to purchase the Purchased Assets and assume the Assumed
Liabilities from the Sellers, with such sale to be free and clear of all Claims and Encumbrances (other
than Permitted Encumbrances), and the Sellers desire to sell, convey, assign and transfer to Purchaser
the Purchased Assets together with the Assumed Liabilities, all in the manner and subject to the
terms and conditions set forth herein, and subject further to all requisite Bankruptcy Court and other
applicable approvals as set forth herein;

        WHEREAS, each Sellers' board of directors (or similar governing body) has determined that
it is advisable and in the best interests of such Seller and its constituencies to enter into this
Agreement and to consummate the transactions provided for herein, subject to entry of the Sale
Order, and each has approved the same.

        NOW, THEREFORE, in consideration of the foregoing and the mutual representations,
warranties, covenants and agreements set forth herein, and for other good and valuable consideration,
the receipt and sufficiency of which are hereby acknowledged, and intending to be legally bound
hereby, Purchaser and Seller hereby agree as follows:

                                                 ARTICLE I.

                                               DEFINITIONS

         1.1.     Definitions. As used herein:

                  (a)           "Accounts Receivable" shall have the meaning set forth in Section 2.1(c).



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                (b)            "Acquired Director and Officer Actions" means all causes of
action, lawsuits, claims, rights of recovery and other similar rights of each Seller and each
Seller's estate that have been or may be asserted against any former officer or director of any
Seller, as more specifically described on Schedule 2.1, attached hereto.

                (c)        "Action" means any action, claim, complaint, grievance, summons, suit,
litigation, arbitration, mediation, proceeding (including any civil, criminal, administrative,
investigative or appellate proceeding), prosecution, contest, hearing, inquiry, inquest, audit,
examination or investigation by or before any Governmental Body.

                 (d)         "Affiliate" means, with respect to any Person, any other Person that,
directly or indirectly through one or more intermediaries, controls, or is controlled by, or is under
common control with, such Person, and the term "control" (including the terms "controlled by" and
"under common control with") means (i) the possession, directly or indirectly, of the power to direct
or cause the direction of the management and policies of such Person, whether through ownership of
voting securities, by Contract or otherwise or (ii) an officer, director, or any Person that has the
power, directly or indirectly, to vote 5% or more of the securities having ordinary voting power for
the election of directors (or persons performing similar functions) of such Person.

                 (e)        "Affiliate Agreement" means any agreement or contract between any
director, officer, employee or greater than five percent (5%) stockholder of Sellers or Affiliate of any
such Person, on one hand, and Sellers, on the other hand, related to the Business, including any
contract providing for the employment of, furnishing of services by, rental of real or personal
property from or otherwise requiring payments to any such Person or firm, other than employment-
at-will arrangements in the ordinary course of business.

                  (f)           "Agreement" shall have the meaning set forth in the preamble.

                  (g)           "Agreement Date" shall have the meaning set forth in the preamble.

                  (h)           "Allocation" shall have the meaning set forth in Section 11.2.

                (i)         "Alternative Transaction" means (i) the approval by the Bankruptcy
Court of a sale or sales of a material portion of the Purchased Assets to a Person other than
Purchaser, or (ii) the confirmation of a plan of reorganization that does not contemplate the sale of
the Purchased Assets to Purchaser in accordance with the terms hereof.

               (j)         "Ancillary Documents" means any certificate, agreement, document or
other instrument (other than this Agreement) to be executed and delivered by a Party in connection
with the consummation of the transactions contemplated this Agreement.

                  (k)           "Antitrust Condition" has the meaning set forth in Section 9.16(c).

                  (l)           "Antitrust Division" has the meaning set forth in Section 9.16(a).

                  (m)           "Antitrust Laws" has the meaning set forth in Section 9.16(b).

                  (n)           "Antitrust Order" has the meaning set forth in Section 9.16(b).



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               (o)          "Arbitrating Accountant" means (a) a nationally recognized certified
public accounting firm jointly selected by Purchaser and the Sellers that is not then engaged to
perform accounting, tax or auditing services for the Sellers or Purchaser or (b) if the Sellers and
Purchaser are unable to agree on an accountant, then a nationally recognized certified public
accounting firm jointly selected by the Sellers' accounting firm and Purchaser's accounting firm.

                  (p)           "Assigned Contracts" shall have the meaning set forth in Section 2.1(b).

                (q)             "Assignment and Assumption Agreement" shall have the meaning set
forth in Section 4.2(b).

                (r)         "Assumed Leased Real Property" means those of Sellers' Business
locations that are subject to Assigned Contracts and that are identified in Schedule 2.1(b), as same
may be modified from time to time in accordance with the terms hereof.

                  (s)           "Assumed Liabilities" shall have the meaning set forth in Section 2.3.

                  (t)           "Assumed Plans" shall have the meaning set forth in Section 7.1(f).

                (u)             "Assumption and Assignment of Leases" shall have the meaning set forth
in Section 4.2(h).

                  (v)           "Assumption Approval" has the meaning set forth in Section 2.6(h).

              (w)               "Auction" has that meaning ascribed to such term by the Bidding
Procedures Order.

                (x)             "Audited Financial Statements" shall have the meaning set forth in
Section 5.17(a).

                  (y)           "Avoidance Actions" shall have the meaning set forth in Section 2.1(x).

                  (z)           "Back-up Bidder" shall have the meaning set forth in Section 8.2(c).

                  (aa)          "Bankruptcy Case" shall have the meaning set forth in the Recitals.

                  (bb)          "Bankruptcy Code" shall have the meaning set forth in the Recitals.

                  (cc)          "Bankruptcy Court" shall have the meaning set forth in the Recitals.

                  (dd)          "Bankruptcy Rules" shall have the meaning set forth in the Recitals.

                (ee)       "Benefit Plan" means (i) all "employee benefit plans" (including, without
limitation, as defined in Section 3(3) of ER1SA), including all employee benefit plans which are
"pension plans" (including, without limitation, as defined in Section 3(2) of ER1SA) and any other
employee benefit arrangements or payroll practices (including severance pay, vacation pay, Seller
awards, salary continuation for disability, sick leave, death benefit, hospitalization, welfare benefit,
group or individual health, dental, medical, life, insurance, fringe benefit, deferred compensation,
profit sharing, retirement, retiree medical, supplemental retirement, bonus or other incentive


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compensation, stock purchase, equity-based, stock option, stock appreciation rights, restricted stock
and phantom stock arrangements or policies) and (ii) all other employment, termination, bonus,
severance, change in control, collective bargaining or other similar plans, programs, contracts, or
arrangements (whether written or unwritten), in each case, maintained, contributed to, or required to
be contributed to by Seller or any ERISA Affiliate for the benefit of any current or former employee,
director, officer or independent contractor of Seller or under which Seller or any ERISA Affiliate has
any liability.

                  (ff)          "Bid Protections" shall have the meaning set forth in Section 8.1.

               (gg)        "Bidding Procedures Order" means an order substantially in the form
attached hereto as Exhibit F and otherwise in form and substance reasonably satisfactory to Seller
and Purchaser.

                  (hh)          "Bill of Sale" shall have the meaning set forth in Section 4.2(a).

                  (ii)          "Break-Up Fee" shall have the meaning set forth in Section 8.1.

                  (jj)          "Business" shall have the meaning set forth in the Section 2.1.

              (kk)       "Business Day" means any day other than a Saturday, Sunday or other
day on which banks in New York City, New York are authorized or required by Law to be closed.

                  (ll)          "Business Software" has the meaning set forth in Section 2.1.

                  (mm)          "Business Systems" has the meaning set forth in Section 2.1.

               (nn)         "Cash and Cash Equivalents" means all of Sellers' cash (including petty
cash and checks received prior to the close of business on the Closing Date), checking account
balances, marketable securities, certificates of deposits, time deposits, bankers' acceptances,
commercial paper, security entitlements, securities accounts, commodity Contracts, commodity
accounts, government securities and any other cash equivalents, whether on hand, in transit, in banks
or other financial institutions, or otherwise held (but specifically excluding any cash payable by
Purchaser to Sellers pursuant to this Agreement).

                  (oo)          "Chapter 11 Petitions" shall have the meaning set forth in the Recitals.

                (pp)        "Claim" has the meaning given that term in Section 101(5) of the
Bankruptcy Code and includes, inter alia, all rights, claims, causes of action, defenses, debts,
demands, damages, offset rights, setoff rights, recoupment right, obligations, and liabilities of any
kind or nature under contract, at law or in equity, known or unknown, contingent or matured,
liquidated or unliquidated, and all rights and remedies with respect thereto.

                 (qq)      "Cleaning Solutions" means Cleaning Solutions, LLC, a Delaware
limited liability company.

                  (rr)          "Closing" shall have the meaning set forth in Section 4.1.




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                  (ss)          "Closing Assumed Contract List" has the meaning set forth in Section
2.6(b).

                  (tt)          "Closing Date" means the date on which the Closing occurs.

             (uu)       "Code" means the United States Internal Revenue Code of 1986, as the
same may be amended from time to time.

                  (vv)          "Competing Bid" shall have the meaning set forth in Section 8.2(b).

                (ww)       "Consent" means any approval, consent, ratification, permission,
clearance, designation, qualification, waiver or authorization, or an order of the Bankruptcy Court
that deems or renders unnecessary the same.

                (xx)        "Contract" means any written or oral contract, purchase order, service
order, sales order, indenture, note, bond, lease, sublease, license, understanding, instrument or other
agreement, arrangement or commitment that is binding upon a Person or its property, whether
express or implied.

                  (yy)          "Credit Bid" has the meaning set forth in Section 3.1(a).

                  (zz)          "Cure Amounts" has the meaning set forth in Section 2.3(b).

                  (aaa)         "Designation Deadline" means December 29, 2017.

                 (bbb)      "DIP Budget" means the pro forma budget delivered to the Purchaser
prior to the date hereof specifying the Sellers' operating budget as debtors-in-possession.

                 (ccc)       "DIP Financing" means that certain Senior Secured Super-Priority
Debtor-In-Possession Credit Agreement, dated as of September 15, 2017, entered into among
(i) Sellers, as borrowers, and (ii) DW Jade, LLC, as the same may be amended, modified, restated, or
supplemented and in effect from time to time, and as approved by the Bankruptcy Court.

               (ddd)            "DIP Financing Obligations" means the "Obligations" as defined under
the DIP Financing.

              (eee)      "DIP Order" means an order or orders entered by the Bankruptcy Court
which approves the DIP Financing on an interim, and thereafter final, basis.

                (fff)        "Documents" means all of Sellers' written files, documents, instruments,
papers, books, reports, records, tapes, microfilms, photographs, letters, budgets, forecasts, plans,
operating records, safety and environmental plans and reports, data, Permits and Permit applications,
studies and documents, Tax Returns, ledgers, journals, title policies, customer lists, regulatory filings,
operating data and plans, research material, technical documentation (design specifications,
engineering information, test results, maintenance schedules, functional requirements, operating
instructions, logic manuals, processes, flow charts, etc.), user documentation (installation guides,
user manuals, training materials, release notes, working papers, etc.), marketing documentation (sales
brochures, flyers, pamphlets, web pages, etc.), and other similar materials, in each case whether or
not in electronic form relating to the Business.


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              (ggg)        "Employee" means an individual who, as of the applicable date, is
employed by a Seller in connection with the Business.

                  (hhh)         "Employer" shall mean the Sellers.

                 (iii)      "Encumbrance" means any lien (as defined in Section 101(37) of the
Bankruptcy Code), encumbrance, claim (as defined in Section 101(5) of the Bankruptcy Code), right,
demand, charge, mortgage, deed of trust, option, pledge, security interest or similar interests, title
defects, hypothecations, easements, rights of way, restrictive covenants, encroachments, rights of
first refusal, preemptive rights, judgments, conditional sale or other title retention agreements and
other impositions, imperfections or defects of title or restrictions on transfer or use of any nature
whatsoever.

                (jjj)       "Environmental Law" means any foreign, federal, state or local statute,
regulation, ordinance rule of common law or agency guidance or policies relating to the protection of
human health, safety, the environment, natural resources or consumer products.

                (kkk)       "Environmental Liabilities and Obligations" means all Liabilities arising
from any actual or threatened impairment, impact or damage to the environment, health or safety, or
any actual or threatened failure to comply with Environmental Law in connection with the prior or
ongoing ownership or operation of the Business, the Purchased Assets, or the Assumed Leased Real
Property where the Business is currently located, including Liabilities related to: (i) the
transportation, storage, use, arrangement for disposal or disposal of Hazardous Materials; (ii) the
Release of Hazardous Materials, including migration onto or from the real property where the
Business is located; (iii) any other pollution or contamination of the surface, substrata, soil, air,
ground water, surface water or marine environments; (iv) any other obligations imposed under
Environmental Law including all applicable Permits; (v) Orders, notices to comply, notices of
violation, alleged non-compliance and inspection reports; and (vi) all obligations with respect to
personal injury, property damage, wrongful death and other damages and losses arising under
applicable Law as a result of any of the matters identified in clauses (i)-(v) of this definition.

              (lll)       "ERISA" means the Employee Retirement Income Security Act of 1974,
as amended, and the regulations promulgated thereunder.

               (mmm) "ERISA Affiliate" means any entity which is a member of (A) a
controlled group of corporations (as defined in Section 414(b) of the Code), (B) a group of trades or
businesses under common control (as defined in Section 414(c) of the Code), (C) an affiliated service
group (as defined under Section 414(m) of the Code) or (D) any group specified in Treasury
Regulations promulgated under Section 414(o) of the Code, any of which includes or included Seller.

                  (nnn)         "Exchange Act" means the Securities Exchange Act of 1934, as
amended.

                  (ooo)         "Excluded Assets" shall have the meaning set forth in Section 2.2.

               (ppp)      "Excluded Avoidance Actions" means all causes of action, lawsuits,
claims, rights of recovery and other similar rights of each Seller, including avoidance claims or
causes of action under Chapter 5 of the Bankruptcy Code, which are not Acquired Director and
Officer Actions.

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                  (qqq)         "Excluded Contract" has the meaning set forth in Section 2.6(c).

                  (rrr)         "Excluded Liabilities" shall have the meaning set forth in Section 2.4.

                (sss)      "Expense Reimbursement" shall mean the reasonable documented out-
of-pocket fees, costs and expenses of the Purchaser incurred in connection with the due diligence,
negotiation and execution of this Agreement and ancillary documents thereto.

                 (ttt)        "Final Order" means an order or judgment of the Bankruptcy Court or
any other court of competent jurisdiction entered by the Clerk of the Bankruptcy Court or such other
court on the docket in Sellers' Bankruptcy Case or the docket of such other court, which has not been
modified, amended, reversed, vacated or stayed and as to which (a) the time to appeal, petition for
certiorari, or move for a new trial, reargument or rehearing has expired and as to which no appeal,
petition for certiorari or motion for new trial, reargument or rehearing shall then be pending or (b) if
an appeal, writ of certiorari new trial, reargument or rehearing thereof has been sought, such order or
judgment of the Bankruptcy Court or other court of competent jurisdiction shall have been affirmed
by the highest court to which such order was appealed, or certiorari shall have been denied, or a new
trial, reargument or rehearing shall have been denied or resulted in no modification of such order,
and the time to take any further appeal, petition for certiorari or move for a new trial, reargument or
rehearing shall have expired, as a result of which such order shall have become final in accordance
with Rule 8002 of the Federal Rules of Bankruptcy Procedure; provided, that the possibility that a
motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
Bankruptcy Rules, may be filed relating to such order, shall not cause such order not to be a Final
Order.

                  (uuu)         "FIRPTA Certificate" shall have the meaning set forth in Section 11.4.

                  (vvv)         "FTC" has the meaning set forth in Section 9.16(a).

                 (www)       "GAAP" means United States generally accepted accounting principles as
in effect from time to time.

                (xxx)      "Governmental Body" means any government, quasi-governmental
entity, or other governmental or regulatory body, agency or political subdivision thereof of any
nature, whether foreign, federal, state or local, or any agency, branch, department, official, entity,
instrumentality or authority thereof, or any court or arbitrator (public or private) of applicable
jurisdiction.

                (yyy)      "Hazardous Material" means any substance, material or waste which is
regulated by any Governmental Body, including petroleum and its by-products, asbestos, and any
material or substance which is defined or identified as a "hazardous waste," "hazardous substance,"
"hazardous material," "restricted hazardous waste," "industrial waste," "solid waste," "contaminant,"
"pollutant," "toxic waste" or "toxic substance" or otherwise regulated under or the subject of any
provision of Environmental Law.

                (zzz)       "Indebtedness" of any Person means, without duplication, (i) the interest
in respect of, principal of and premium (if any) in respect of (x) indebtedness of such Person for
money borrowed and (y) indebtedness evidenced by notes, debentures, bonds or other similar
instruments for the payment of which such Person is responsible or liable; (ii) all obligations of such

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Person with respect to any Contracts relating to the deferred and unpaid purchase price of property or
services, including any interest accrued thereon and prepayment or similar penalties and expenses;
(iii) all obligations of such Person under leases required to be capitalized in accordance with GAAP;
(iv) all obligations of such Person for the reimbursement of any obligor on any letter of credit,
banker's acceptance or similar credit transaction; (v) all obligations of the type referred to in clauses
(i) through (iv) of any Persons for the payment of which such Person is responsible or liable, directly
or indirectly, as obligor, guarantor, surety or otherwise, including guarantees of such obligations; and
(vi) all obligations of the type referred to in clauses (i) through (v) of other Persons secured by any
Encumbrance (other than Permitted Encumbrances), on any property or asset of such Person
(whether or not such obligation is assumed by such Person).

                (aaaa)      "Intellectual Property" means all intellectual property and proprietary
rights of any kind, including the following: (i) trademarks, service marks, trade names, slogans,
logos, designs, symbols, trade dress, internet domain names, uniform resource identifiers, rights in
design, brand names, any fictitious names, d/b/a's or similar filings related thereto, or any variant of
any of them, and other similar designations of source or origin, together with all goodwill,
registrations and applications related to the foregoing; (ii) copyrights and copyrightable subject
matter (including any registration and applications for any of the foregoing); (iii) trade secrets and
other confidential or proprietary business information (including manufacturing and production
processes and techniques, research and development information, technology, intangibles, drawings,
specifications, designs, plans, proposals, technical data, financial, marketing and business data,
pricing and cost information, business and marketing plans, customer and supplier lists and
information), know how, proprietary processes, formulae, algorithms, models, industrial property
rights, and methodologies; (iv) computer software, computer programs, and databases (whether in
source code, object code or other form); and (v) all rights to sue for past, present and future
infringement, misappropriation, dilution or other violation of any of the foregoing and all remedies at
law or equity associated therewith.

               (bbbb)      "Inventory" means all inventory (including finished goods, supplies, raw
materials, work in progress, spare, replacement and component parts) related to the Business
maintained or held by, stored by or on behalf of, or in transit to, any Seller.

                  (cccc)        "IRS" shall have the meaning set forth in Section 4.14(c).

               (dddd)      "Knowledge" or ("Knowledge of Sellers" or "Sellers' Knowledge") means
the actual knowledge of a natural person, or, with respect to a Person that is not a natural person, the
actual knowledge of the officers or management of any person, in each case, including facts of which
any such individual should be aware in the reasonably prudent exercise of his or her duties.

               (eeee)       "Law" means any federal, state, local, municipal, foreign or international,
multinational or other law, statute, constitution, principle of common law, resolution, ordinance,
code, edict, decree, rule, regulation, ruling or requirement issued, enacted, adopted, promulgated,
implemented or otherwise put into effect by or under the authority of any Governmental Body,
including but not limited to Environmental Laws.

                  (ffff)        "Lease" shall have the meaning set forth in Section 5.6(a).

             (gggg)    "Leased Real Property" means all of the real property leased, subleased,
used or occupied by any of the Seller, together with all buildings, structures, fixtures and

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improvements erected thereon, and any and all rights privileges, easements, licenses, hereditaments
and other appurtenances relating thereto, and used, or held for use, in connection with the operation
of the Business.

                (hhhh)       "Liability" means, as to any Person, any debt, adverse claim, liability
(including any liability that results from, relates to or arises out of tort or any other product liability
claim), duty, responsibility, obligation, commitment, assessment, cost, expense, loss, expenditure,
charge, fee, penalty, fine, contribution or premium of any kind or nature whatsoever, whether known
or unknown, asserted or unasserted, absolute or contingent, direct or indirect, accrued or unaccrued,
liquidated or unliquidated, or due or to become due, and regardless of when sustained, incurred or
asserted or when the relevant events occurred or circumstances existed.

                 (iiii)      "Material Adverse Effect" means any event, change, occurrence or state
of facts that has had, or is reasonably likely to have, individually or in the aggregate, a material
adverse effect on the (i) assets, Liabilities, Business, properties, financial condition or results of
operations of the Sellers, taken as a whole; provided, however, that in no event shall any of the
following, alone or in combination, be deemed to constitute, or be taken into account, in determining
whether there has been, or would be, a Material Adverse Effect: (a) changes in the U.S. economy or
capital markets in general but that do not have a disproportionate effect on the Sellers relative to
other participants in the industry in which the Sellers conduct the Business, (b) changes that affect
generally the industry in which the Sellers operate but that do not have a disproportionate effect on
the Sellers relative to other participants in the industry in which the Sellers conduct the Business, (c)
changes after the Agreement Date in any applicable Law or GAAP, (d) the commencement of the
Bankruptcy Case and Sellers' inability to pay certain obligations as a result of the filing of the
Bankruptcy Case, (e) any actions taken or proposed to be taken by Purchaser or any of its Affiliates,
or (f) any effect resulting the public announcement of this Agreement, compliance with terms of this
Agreement or the consummation of the transactions contemplated by this Agreement.

                (jjjj)      "Non-Real Property Contracts" means the Contracts to which a Seller is
a party other than the Leases.

                   (kkkk)      "Operational Expenses" means all expenses of the Business, including,
but not limited to, employee and occupancy expenses, all costs and expenses associated with any
Lease or Non-Real Property Contract, including rent, ground lease rent, common area maintenance,
utilities, real estate Taxes, insurance, security, other actual out-of-pocket costs.

               (llll)       "Order" means any award, writ, injunction, judgment, order, ruling,
decision, subpoena, mandate, precept, command, directive, consent, approval, award, decree or
similar determination or finding entered, issued, made or rendered by any Governmental Body.

               (mmmm) "Ordinary Course of Business" means the ordinary and usual course of
normal day to day operations of the Business consistent with past practice.

                (nnnn)      "Organizational Documents" means, with respect to a particular entity
Person, (i) if a corporation, the articles or certificate of incorporation and bylaws, (ii) if a general
partnership, the partnership agreement and any statement of partnership, (iii) if a limited partnership,
the limited partnership agreement and certificate of limited partnership, (iv) if a limited liability
company, the articles or certificate of organization or formation and any limited liability company or
operating agreement, (v) if another type of Person, all other charter and similar documents adopted or

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filed in connection with the creation, formation or organization of the Person, and (vi) all
amendments or supplements to any of the foregoing.

                  (oooo)        "Outside Back-up Date" shall have the meaning set forth in Section
8.2(c).

                  (pppp)        "Outside Date" shall have the meaning set forth in Section 4.4(b).

                  (qqqq)        "Overbid Protection" shall have the meaning set forth in Section 8.1.

                  (rrrr)        "Party" shall have the meaning set forth in the preamble.

                  (ssss)        "Pension Plan" shall have the meaning set forth in Section 5.14(e).

                 (tttt)      "Permits" means to the fullest extent permitted under applicable law, all
notifications, licenses, permits (including environmental, construction and operation permits),
franchises, certificates, approvals, consents, waivers, clearances, exemptions, classifications,
registrations, variances, orders, tariffs, rate schedules and other similar documents and authorizations
issued by any Governmental Body to any of the Sellers and used, or held for use, in connection with
the operation of the Business or applicable to ownership of the Purchased Assets or assumption of
the Assumed Liabilities.

                (uuuu)      "Permitted Encumbrances" means (i) Encumbrances for utilities and
current Taxes not yet due and payable or being contested in good faith; (ii) easements, rights of way,
restrictive covenants, encroachments and similar non-monetary encumbrances or non-monetary
impediments against any of the Purchased Assets which do not, individually or in the aggregate,
adversely affect the operation of the Business and Leased Real Property, which do not, individually
or in the aggregate, adversely affect the use or occupancy of such Leased Real Property as it relates
to the operation of the Business or materially detract from the value of the Leased Real Property, (iii)
applicable zoning Laws, building codes, land use restrictions and other similar restrictions imposed
by Law, (iv) materialmans', mechanics', artisans', shippers', warehousemans' or other similar common
law or statutory liens incurred in the Ordinary Course of Business, (v) licenses granted on a non-
exclusive basis , (vi) Encumbrances arising from the transfer of Intellectual Property pursuant to this
Agreement relating to the past acts or prior commitments of Sellers and all previous owners of such
Intellectual Property and (vii) such other Encumbrances or title exceptions as Purchaser may approve
in writing in its sole and exclusive discretion or which do not, individually or in the aggregate,
materially and adversely affect the operation of the Business.

              (vvvv)     "Person" means an individual, corporation, partnership, limited liability
Seller, joint venture, association, trust, unincorporated organization, labor union, estate,
Governmental Body or other entity or group.

                  (wwww) "Personal Property Leases" shall have the meaning set forth in Section
5.7.

              (xxxx)       "Petition Date" means the date on which each Seller commenced the
Bankruptcy Case by the filing of a Chapter 11 Petition.

                  (yyyy)        "Post-Closing Plans" shall have the meaning set forth in Section 7.1(b).


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                (zzzz)     "Post-Closing Tax Period" means any taxable period (or portion thereof)
beginning after the Closing Date.

                (aaaaa)    "Pre-Closing Period" means the period commencing on the Agreement
Date and ending on the earlier of the date upon which this Agreement is terminated pursuant to
Section 4.4 or the Closing Date.

               (bbbbb) "Pre-Closing Tax Period" means any taxable period (or portion thereof)
ending on or before the Closing Date.

                (ccccc)    "Pre-Petition Credit Agreement" means that that certain Credit and
Security Agreement, dated as of October 31, 2014 (as amended, restated, supplemented or otherwise
modified from time to time and in effect, the "Existing Credit Agreement"), among the Borrower and the
Lender.

               (ddddd)      "Pre-Petition Financing Obligations" means the "Obligations" as
defined under the Pre-Petition Credit Agreement.

                  (eeeee)       "Prevailing Bidder" shall have the meaning set forth in Section 8.2(c).

               (fffff)     "Products" means, collectively, all photos, photographic materials and
accessories developed, produced, distributed, marketed and/or sold in connection with the Business.

                  (ggggg)       "Purchase Price" shall have the meaning set forth in Section 3.1(a).

                  (hhhhh)       "Purchased Assets" shall have the meaning set forth in Section 2.1.

                  (iiiii)       "Purchaser" shall have the meaning set forth in the preamble.

                  (jjjjj)       "Purchaser Designee" shall have the meaning set forth in the preamble.

                (kkkkk) "Regulatory Approvals" means any consents, waivers, approvals, orders
Permits or authorizations of any Governmental Body required in connection with the execution,
delivery and performance of this Agreement of any Ancillary Document and the consummation of
the transactions contemplated hereby and thereby.

                  (lllll)       "Rejection Effective Date" has the meaning set forth in Section 2.6(c).

               (mmmmm) "Release" means any actual or threatened release, spill, emission,
leaking, pumping, injection, deposit, disposal, discharge, dispersal or leaching into the indoor or
outdoor environment, or including migration to or from a property, including, but not limited to, any
Leased Real Property.

                 (nnnnn) "Remedial Action" means all actions to (i) investigate, clean up, remove,
treat or in any other way address any Hazardous Material; (ii) prevent the Release of any Hazardous
Material; (iii) perform pre-remedial studies and investigations or post-remedial monitoring and care;
or (iv) to correct a condition of noncompliance with Environmental Laws.




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             (ooooo) "Related Agreements" means the Bill of Sale, the Assignment and
Assumption Agreement, and the Assumption and Assignment of Leases.

                 (ppppp) "Representative" of a Person means such Person's Subsidiaries and the
officers, directors, managers, employees, advisors, representatives (including its legal counsel and its
accountants) and agents of such Person or its Subsidiaries.

                (qqqqq)         "Sale and Bidding Procedures Motion" shall have the meaning set forth
in Section 8.2(a).

                (rrrrr)         "Sale Hearing" means the hearing to approve this Agreement and seeking
entry of the Sale Order.

               (sssss)    "Sale Motion" means the motion or motions of Sellers, in form and
substance reasonably acceptable to Sellers and Purchaser, seeking approval and entry of the Bidding
Procedures Order and Sale Order.

              (ttttt)    "Sale Order" means an order substantially in the form attached hereto as
Exhibit G and otherwise in form and substance satisfactory to Purchaser in its sole and exclusive
discretion.

                  (uuuuu)       "Seller" or "Sellers" shall have the meaning set forth in the preamble.

                  (vvvvv)       "Straddle Period" shall have the meaning set forth in Section 11.1(b).

                  (wwwww) "Subsidiary" or "Subsidiaries" means, with respect to any Person, any
corporation, limited liability company, joint venture or partnership of which such Person (a)
beneficially owns, either directly or indirectly, more than fifty percent (50%) of (i) the total
combined voting power of all classes of voting securities of such entity, (ii) the total combined equity
interests, or (iii) the capital or profit interests, in the case of a partnership; or (b) otherwise has the
power to vote or to direct the voting of sufficient securities to elect a majority of the board of
directors or similar governing body.

               (xxxxx) "Systems" means all software, systems, servers, computers, hardware,
firmware, middleware, networks, data communications lines, routers, hubs, switches and other
information technology equipment that are used to process, store, maintain and operate business data,
information, and functions.

                (yyyyy) "Tax" and "Taxes" mean (a) any and all taxes, including any federal,
state, provincial, local, foreign or other income, gross receipts, sales, value added, use, production, ad
valorem, transfer, franchise, registration, profits, license, lease, service, service use, withholding,
payroll, employment, unemployment, estimated, excise, severance, environmental, stamp,
occupation, premium, property (real or personal), real property gains, windfall profits, capital,
production, recapture, net worth, surplus, customs, duties, levies, surtaxes or other taxes, fees,
assessments, reassessments or charges of any kind whatsoever, together with any interest, additions,
installments or penalties with respect thereto and any interest in respect of such additions or
penalties, (b) any Liability for the payment of any items described in clause (a) above as a result of
being (or ceasing to be) a member of an affiliated, consolidated, combined, unitary or aggregate
group (or being included (or being required to be included)) in any Tax Return related to such group

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(including any Liability pursuant to Section 1.1502-6 of the Treasury Regulations, or any similar
provision of state, local or non-U.S. law), and (c) any Liability for the payment of any amounts as a
result of any express or implied obligation to indemnify any other Person, or any successor or
transferee liability, by contract or otherwise in respect of any items described in clause (a) or (b)
above.

                (zzzzz)      "Tax Proceeding" means any action, suit, investigation, audit, Claim,
investigation, or other action or proceeding with respect to Taxes.

                  (aaaaaa)      "Tax Refunds" shall have the meaning set forth in Section 2.1(r).

               (bbbbbb) "Tax Return" means any return, report, information return, declaration,
claim for refund or other document (including any schedule or related or supporting information)
supplied or required to be supplied to any Governmental Body with respect to Taxes, including
amendments thereto.

                  (cccccc)      "Transferred Employee" shall have the meaning set forth in Section
7.1(a).

                (dddddd) "Treasury Regulations" means the regulations promulgated under the
Code by the United States Department of the Treasury (whether in final, proposed or temporary
form), as the same may be amended from time to time.

                (eeeeee)        "Unaudited Financial Statements" shall have the meaning set forth in
Section 5.17(a).

               (ffffff)     "WARN Act" means the United States Worker Adjustment and Retraining
Notification Act, and the rules and regulations promulgated thereunder.

          1.2     Interpretations. Unless otherwise indicated herein to the contrary:

                (a)     When a reference is made in this Agreement to an Article, Section, Exhibit,
Schedule, clause or subclause, such reference shall be to an Article, Section, Exhibit, Schedule,
clause or subclause of this Agreement.

                (b)   The words "include," "includes" or "including" and other words or phrases of
similar import, when used in this Agreement, shall be deemed to be followed by the words "without
limitation."

               (c)    The words "hereof," "herein" and "hereunder" and words of similar import,
when used in this Agreement, refer to this Agreement as a whole and not to any particular provision
of this Agreement.

                 (d)    The word "if" and other words of similar import shall be deemed, in each
case, to be followed by the phrase "and only if."

                  (e)      The use of "or" herein is not intended to be exclusive.




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                (f)     The definitions contained in this Agreement are applicable to the singular as
well as the plural forms of such terms. Whenever the context may require, any pronouns used herein
shall include the corresponding masculine, feminine or neuter forms, and the singular form of names
and pronouns shall include the plural and vice versa.

                (g)     All terms defined in this Agreement have their defined meanings when used
in any certificate or other document made or delivered pursuant hereto, unless otherwise defined
therein.

                (h)     References to any statute shall be deemed to refer to such statute as amended
from time to time and to any rules or regulations promulgated thereunder. References to any Contract
are to that Contract as amended, modified or supplemented from time to time in accordance with the
terms hereof and thereof. References herein to a Person are also to its successors and permitted
assigns. Any reference herein to a Governmental Body shall be deemed to include reference to any
successor thereto. References from or through any date means, unless otherwise specified, from and
including or through and including such date, respectively.

                  (i)      Any reference herein to "Dollars" or "$" shall mean United States dollars.

                (j)    References in this Agreement to materials or information "furnished to
Purchaser" and other phrases of similar import include all materials or information made available to
Purchaser or its Representatives in the data room prepared by Sellers or provided to Purchaser or its
Representatives in response to requests for materials or information, in each case, on or prior to 5:00
p.m. prevailing Eastern time on the day prior to the date of this Agreement.

                (k)     References to "days" shall refer to calendar days unless Business Days are
specified. If any period expires on a day which is not a Business Day or any event or condition is
required by the terms of this Agreement to occur or be fulfilled on a day which is not a Business Day,
such period shall expire or such event or condition shall occur or be fulfilled, as the case may be, on
the next succeeding Business Day.

               (l)    Unless the context otherwise requires, the word "extent" in the phrase "to the
extent" means the degree to which a subject or other thing extends, and such phrase does not mean
simply "if."

                                               ARTICLE II.

                        PURCHASE AND SALE OF THE PURCHASED ASSETS;
                            ASSUMPTION OF ASSUMED LIABILITIES

         2.1.    Purchase and Sale of the Purchased Assets. Pursuant to Sections 105, 363 and 365 of
the Bankruptcy Code and the Bankruptcy Rules, and on the terms and subject to the conditions set
forth herein and the Sale Order, at the Closing Sellers shall sell, transfer, assign, convey and deliver
to Purchaser (or any Purchaser Designee, as may be determined by Purchaser), and Purchaser shall
purchase, acquire and accept from Sellers all of Sellers' right, title and interest in, to and with respect
all assets, including the following, but excluding the Excluded Assets (the "Purchased Assets"), as of
the Closing:



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                (a)     all of Sellers' properties, rights, claims and assets (other than the Excluded
Assets) of every kind and description, wherever situated or located, real, personal or mixed, tangible
or intangible, contingent, owned, leased, or licensed, for use in or relating to the Business, whether or
not reflected on the books and records of Seller, as the same shall exist on the Closing Date;

               (b)      subject to Section 2.6 hereof, to the extent assignable pursuant to Section 365
of the Bankruptcy Code and Bankruptcy Rule 6006, all rights under Contracts, agreements and
purchase and sale orders that are not Excluded Contracts (as defined in Section 2.6(a)), including all
rights under any lease for Assumed Leased Real Property and any customer contracts and any
contract renewal rights, but excluding obligations under the DIP Financing (the "Assigned
Contracts"), each as listed on Schedule 2.1(b);

               (c)     to the extent related to the Business, except as set forth on Schedule 2.1(c), all
trade and non-trade accounts receivable, notes receivable and negotiable instruments of Sellers (the
"Accounts Receivable");

                  (d)      all of Sellers' Cash and Cash Equivalents;

                (e)     all Documents relating to the Purchased Assets or Assumed Liabilities,
including, without limitation, customer lists; provided, however, that Sellers have the right to retain
copies at Sellers' expense;

                (f)     all tangible assets of Sellers relating to the Business, including, without
limitation, the tangible assets of Sellers located at any Assumed Leased Real Property or at the
Locations listed on Schedule 2.1(b);

               (g)   all personnel files for Transferred Employees except as required under Law;
provided, however, that Sellers have the right to retain copies at Sellers' expense to the extent
required by Law;

              (h)     any chattel paper owned or held by Sellers relating to the Business or the
Purchased Assets, except to the extent constituting an Excluded Asset;

                (i)     any lock boxes to which account debtors of the Sellers remit payment relating
to the Business or the Purchased Assets;

                (j)    all other or additional assets, properties, privileges, rights (including prepaid
expenses) and interests of Sellers relating to the Business or the Purchased Assets of every kind and
description and wherever located, whether known or unknown, fixed or unfixed, accrued, absolute,
contingent or otherwise, and whether or not specifically referred to in this Agreement;

                (k)      all Permits relating to the Business or the Purchased Assets, and all pending
applications therefor, including, without limitation, to the extent transferrable hereunder, the Aircraft
Certificates;

                (l)     all express or implied guarantees, warranties, representations, covenants,
indemnities, rights, claims, counterclaims, defenses, credits, causes of action or rights of set off
against third parties relating to the Purchased Assets (including, for the avoidance of doubt, those
arising under, or otherwise relating to the Assigned Contracts) or Assumed Liabilities, including


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rights under vendors' and manufacturers' warranties, indemnities, guaranties and avoidance claims
and causes of action under the Bankruptcy Code or applicable Law that are possessed by the Sellers;

                 (m)    all of the Intellectual Property as set forth on Schedule 5.8, including all
claims (including all rights to bring claims for past, present or future infringement of the purchased
Intellectual Property owned by Seller) and causes of action of Sellers as of the Closing against any
Persons (regardless of whether or not such claims and causes of action have been asserted by Sellers)
related thereto;

                 (n)     all goodwill, payment intangibles and general intangible assets and rights of
Sellers to the extent associated with the Business or the Purchased Assets;

                (o)    all Inventory, including raw materials, work in process, parts, subassemblies
and finished goods, wherever located and whether or not obsolete or carried on the Sellers' books of
account, in each case with any transferable warranty and service rights of the applicable Seller with
respect to such Purchased Assets to the extent owned by Sellers;

                 (p)     to the extent permitted by Law, the Sellers' Documents, and without limiting
the foregoing, each of the following: financial accounting and other books and records,
correspondence, and all customer sales, marketing, advertising, packaging and promotional materials,
files, data, software (whether written, recorded or stored on disk, film, tape or other media, and
including all computerized data), drawings, engineering and manufacturing data and other technical
information and data, and all other business and other records, in each case arising under or relating
to the Purchased Assets, the Assumed Liabilities or the Business; provided, however, that Sellers
have the right to retain copies of all of the foregoing at Sellers' expense;

                (q)     to the extent transferable, all rights and obligations under or arising out of all
insurance policies relating to the Business or any of the Purchased Assets or Assumed Liabilities
(including returns and refunds of any premiums paid, or other amounts due back to Sellers, with
respect to cancelled policies);

                 (r)     all Tax assets net of any liability (including all state and federal Tax refunds
(or the right to such state and federal refunds of Taxes, whether claimed or unclaimed) for all taxable
periods (or portions thereof), whether ending on, prior to, or after the Closing Date (the "Tax
Refunds"));

                (s)     except to the extent set forth on Schedule 2.1(s), all rights and obligations
under non-disclosure or confidentiality, key employee retention plans and similar arrangements with
(or for the benefit of) employees and agents of Sellers or with third parties (including any non-
disclosure or confidentiality agreements or any key employee retention plans or similar arrangements
entered into in connection with or in contemplation of the filing of the Bankruptcy Case and the
Auction contemplated by the Bidding Procedures Order);

                 (t)    all Assumed Plans, if any (including all assets, trusts, insurance policies and
administration service contracts related thereto), listed on Schedule 2.1(t); provided, however, that
Purchaser shall not be assuming or be responsible for any liabilities or obligations arising with
respect to or in connection with such Assumed Plans to the extent such liabilities or obligations arose
prior to Closing or with respect to any employee or former employee of the Sellers who does not



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become a Transferred Employee (except to cause payment for any claim appropriately covered by a
transferred insurance policy);

                (u)     to the extent owned by Sellers, all fixed assets and other personal property
and interests related to the Business or Purchased Assets, wherever located, including all vehicles,
tools, parts and supplies, fuel, machinery, equipment, furniture, furnishing, appliances, fixtures,
office equipment and supplies, owned and licensed computer hardware and related documentation,
stored data, communication equipment, trade fixtures and leasehold improvements, in each case with
any freely transferable warranty and service rights of the applicable Sellers with respect to such
Purchased Assets;

                (v)     to the extent owned by Sellers, all telephone, fax numbers and email
addresses of the Sellers;

                (w)     all of Sellers' rights to receive refunds, payments or overpayments, clawbacks
or other amounts (whether from a workers' compensation administrator or otherwise) in respect of
any and all workers' compensation matters, claims, potential claims, purported claims and similar
related items with respect to any Transferred Employee;

              (x)      except for the Excluded Avoidance Actions, all causes of action, lawsuits,
judgments, claims, refunds, rights of recovery, rights of set-off, counterclaims, defenses,
demands, warranty claims, rights to indemnification, contribution, advancement of expenses or
reimbursement, or similar rights of any Seller (at any time or in any manner arising or existing,
whether choate or inchoate, known or unknown, now existing or hereafter acquired, contingent
or noncontingent), including, without limitation, the Acquired Director and Officer Actions;

                (y)     any and all claims, deposits, prepayments, refunds, rebates, causes of action,
rights of recovery, rights of set-off and rights of recoupment relating to or in respect of a Purchased
Asset;

                (z)    any and all bank, deposit and/or escrow accounts used by Sellers for the
retention of customer purchase deposits (but not the deposits themselves);

               (aa) to the extent transferable, all Systems primarily related to the Business that
are owned by the Sellers (the "Business Systems");

              (bb) to the extent transferable, all Software primarily related to the Business that is
owned by Sellers (the "Business Software");

                  (cc)     without duplication of the above, all other current assets of Sellers as of the
Closing Date;

               (dd) without duplication of the above, all other assets that are related to or used in
connection with the Purchased Assets or the Business (but excluding all of the Excluded Assets);

               (ee)        The Acquired Director and Officer Actions as more specifically described on
Schedule 2.1; and




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                 (ff)   all current and prior director and officer insurance policies of the Sellers and
all rights of any nature with respect thereto, including all insurance recoveries thereunder and rights
to assert claims with respect to any such insurance recoveries.

        2.2.     Excluded Assets. Notwithstanding anything to the contrary in this Agreement, in no
event shall Sellers be deemed to sell, transfer, assign or convey, and Sellers shall retain all right, title
and interest to, in and under only the following assets, properties, interests and rights of Sellers
(collectively, the "Excluded Assets"):

                  (a)     any asset of Sellers that otherwise would constitute a Purchased Asset but for
the fact that it is sold or otherwise disposed of in the Ordinary Course of Business of Sellers and in
conformity with the terms and conditions of this Agreement, during the time from the Agreement
Date until the Closing Date, or Purchaser otherwise agrees to such disposition;

               (b)     copies of any and all information not relating to the Business that is stored on
Sellers' computer systems, data networks or servers;

                  (c)      all agreements and contracts of Sellers other than the Assigned Contracts;

               (d)     all Documents and all personnel records of Sellers' employees that Sellers are
required by Law to retain and is prohibited by Law from providing a copy thereof to Purchaser;

               (e)    the Sellers' Organizational Documents, corporate charter, minute and stock
record books, Tax Returns, corporate seal, checkbooks and canceled checks;

                 (f)    all shares of capital stock or other equity interests issued by Sellers or
securities convertible into, exchangeable or exercisable for any such shares of capital stock or other
equity interests;

               (g)      Sellers' rights under this Agreement, the Purchase Price hereunder, any
agreement, certificate, instrument or other document executed and delivered by Purchaser to Sellers
in connection with the transactions contemplated hereby, or any side agreement between Sellers and
Purchaser entered into on or after the Agreement Date;

                  (h)      All Causes of Action arising out of or related to any Excluded Asset;

                (i)     all Benefit Plans (including all assets, trusts, insurance policies and
administration service contracts related thereto), except for the Assumed Plans (if any); and

                  (j)      the Excluded Avoidance Actions.

         2.3.    Assumption of Liabilities. On the terms and subject to the conditions set forth in this
Agreement and the Sale Order, effective as of the Closing, Purchaser shall assume from the Sellers
(and pay, perform, discharge or otherwise satisfy in accordance with their respective terms), and the
Sellers shall irrevocably convey, transfer and assign to Purchaser, the following Liabilities (and only
the following Liabilities) (collectively, the "Assumed Liabilities"):

                 (a)    all Liabilities of Sellers arising from the ownership of the Purchased Assets,
relating to periods occurring on or after the Closing Date, but excluding any Liabilities to the extent


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relating to Sellers' ownership or operation of the Purchased Assets prior to the Closing or relating to
any services that were sold or provided by the Sellers prior to the Closing Date;

                 (b)    all Liabilities and obligations of Seller under the Assigned Contracts
(excluding any Cure Amounts required to be paid pursuant to Section 365 of the Bankruptcy Code in
connection with the assumption and assignment of the Assigned Contracts (such Cure Amounts are,
collectively, the "Cure Amounts"), in each case to the extent arising and relating solely to the period
from and after the Closing Date;

                (c)    all open purchase orders set forth on Schedule 2.3(c) arising out of the
conduct of the Business and Liabilities arising under drafts or checks outstanding at the Closing
incurred in the Ordinary Course of Business;

                (d)      all Liabilities relating to, or in respect of vacation days, sick days or other
paid time-off, that is earned or accrued by, or with respect to, Transferred Employees;

                 (e)     the obligations to provide benefits or payments under the Assumed Plans, if
any; provided, however, that Purchaser shall not be assuming or be responsible for any liabilities or
obligations arising with respect to or in connection with such Assumed Plans to the extent such
liabilities or obligations arose prior to Closing or with respect to any employee or former employee
of the Sellers who does not become a Transferred Employee (except to cause payment for any claim
appropriately covered by a transferred insurance policy); and

                 (f)     any manufacturer or similar warranty solely to the extent issued by a Seller to
a customer of such Seller (but not as to any warranty and service rights issued or provided by a third
party that is otherwise transferable by or from a Seller).

         Notwithstanding the foregoing or any other provisions of this Agreement, Purchaser shall not
assume hereunder, and "Assumed Liabilities" shall not include, Liabilities under any Contract to the
extent such Liabilities arise as a result of a breach or failure of such Contract occurring prior to, as of,
or as a result of, the Closing (including Cure Amounts, except to the extent provided herein).

        The assumption by Purchaser of the Assumed Liabilities shall not, in any way, enlarge the
rights of any third parties relating thereto.

         2.4.     Excluded Liabilities. Notwithstanding any provision in this Agreement to the
contrary, Purchaser is assuming only the Assumed Liabilities and is not assuming, and shall not be
deemed to have assumed, any other Liabilities of Sellers of whatever nature (whether arising prior to,
at the time of, or subsequent to Closing), whether absolute, accrued, contingent or otherwise, whether
due or to become due and whether or not assets, and whether or not known or unknown or currently
existing or hereafter arising or matured or unmatured, direct or indirect, and the Sellers shall be
solely and exclusively liable for any and all such Liabilities, including those relating to, arising out of
or in connection with the operation of the Business or the Purchased Assets (including the use and
ownership thereof) at any time prior to the Closing Date, and including, without limitation, those
Liabilities set forth below (collectively, the "Excluded Liabilities"):

                (a)     all Liabilities of the Seller relating to or otherwise arising, whether before, on
or after the Closing, out of, or in connection with, any of the Excluded Assets;



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                  (b)      all accounts payable;

                  (c)      any and all Liabilities for Indebtedness with respect to borrowed money;

               (d)      all guarantees of third party obligations and reimbursement obligations to
guarantors of Sellers' obligations or under letters of credit;

              (e)          any and all Liabilities of the Sellers in respect of Contracts that are not
Assigned Contracts;

             (f)     all Cure Amounts required to be paid pursuant to Section 365 of the
Bankruptcy Code in connection with the assumption and assignment of the Assigned Contracts;

                (g)     except for any employment Contract that is an Assigned Contract, all
Liabilities with respect to compensation, severance or benefits of any nature owed to any current or
former employee, officer, director, member, partner or independent contractor of Sellers or any
ERISA Affiliate (or any beneficiary or dependent of any such individual), whether or not employed
by Purchaser or any of its Affiliates after the Closing, that (A) arises out of or relates to the
employment, service provider or other relationship between Seller or ERISA Affiliate and any such
individual, including the termination of such relationship, (B) arises out of or relates to any Benefit
Plan or (C) arises out of or relates to events or conditions occurring on or before the Closing Date;

                 (h)      drafts or checks outstanding at the Closing (except to the extent an Assumed
Liability or relating to an Assigned Contract);

               (i)    all Liabilities under any futures contracts, options on futures, swap
agreements or forward sale agreements;

                (j)     all Liabilities for fees, costs and expenses that have been incurred or that are
incurred or owed by Sellers in connection with this Agreement or the administration of the
Bankruptcy Case (including all fees and expenses of professionals engaged by Seller and any
statutory committee appointed in the Bankruptcy Case) and administrative expenses and priority
claims accrued through the Closing Date and specified post-closing administrative wind-down
expenses of the bankrupt estates pursuant to the Bankruptcy Code and all costs and expenses incurred
in connection with (i) the negotiation, execution and consummation of the transactions contemplated
under this Agreement and each of the other documents delivered in connection herewith, (ii) the
preparation and submission of any filing or notice required to be made or given in connection with
any of the transactions contemplated by this Agreement, and the obtaining of any consent required to
be obtained in connection with any of such transactions; (iii) the negotiation, execution and
consummation of the DIP Financing, and (iv) the consummation of the transactions contemplated by
this Agreement, including any retention bonuses, "success" fees, change of control payments and any
other payment obligations of Sellers payable as a result of the consummation of the transactions
contemplated by this Agreement and the documents delivered in connection herewith;

                  (k)    all Liabilities related to the WARN Act, to the extent applicable, with respect
to separation of employment of any Employees prior to or on the Closing Date, unless the WARN
Act did not apply to such separation but for any act or omission of the Purchaser or any of its
Affiliates after the Closing Date;



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                (l)     all Liabilities with respect to severance, compensation or benefits of any
nature owed by Sellers to any current or former employee, consultant or independent contractor or
any beneficiary or dependent thereof, whether or not any such individual enters into employment or
other service with Purchaser after Closing that (i) arises out of or relates to the employment or
service-provider relationship between the Sellers or any ERISA Affiliate and any such individuals,
including the termination of such relationship, on or prior to the Closing Date, (ii) arises out of or
relates to any Benefit Plan or (iii) arises out of or relates to events or conditions occurring on or
before the Closing Date;

               (m)     all Liabilities of any Seller to its directors respecting director and/or other
board fees and/or reimbursable expenses pursuant to Sellers' Organizational Documents or applicable
Law;

                 (n)     all Liabilities of any Seller to its equity holders respecting dividends,
distributions in liquidation, redemptions of interests, option payments or otherwise, and any liability
of Sellers pursuant to any Affiliate Agreement;

               (o)      all Liabilities arising out of or relating to any business or property formerly
owned or operated by Sellers, any Affiliate or predecessor thereof, but not presently owned and
operated by the Sellers;

                 (p)      all Liabilities relating to claims, actions, suits, arbitrations, litigation matters,
proceedings or investigations (in each case whether involving private parties, Authorities, or
otherwise) involving, against, or affecting any Purchased Asset, the Business, Sellers, or any assets
or properties of Sellers, whether commenced, filed, initiated, or threatened before or after the Closing
provided that such claim, action, suit, arbitration, litigation matter, proceeding or investigation relates
to facts, events, or circumstances arising or occurring before the Closing;

                (q)     all obligations of the Sellers arising and to be performed prior to the Closing
Date arising from or related to the Business or the Purchased Assets;

                  (r)      all Environmental Liabilities and Obligations;

               (s)    all Liabilities of Sellers or their predecessors arising out of any contract,
agreement, Permit, franchise or claim that is not transferred to Purchaser as part of the Purchased
Assets or, is not transferred to Purchaser because of any failure to obtain any third-party or
governmental consent required for such transfer;

               (t)     any and all Liabilities of the Sellers for any (i) Taxes (including any Taxes
owed by Sellers and arising in connection with the consummation of the transactions contemplated
by this Agreement), and (ii) Taxes attributable to the Purchased Assets or the operation of the
Business for any Pre-Closing Tax Period;

                 (u)     without limiting the generality of clause (l) above, all Liabilities relating to,
or in respect of, any wages, bonuses or other compensation or benefits, including without limitation,
vacation days, sick days or other paid time-off, that is earned or accrued by, or with respect to,
officers, directors or contractors of Sellers or any Affiliate of Sellers prior to the Closing;




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               (v)      any and all Liabilities of the Sellers arising under this Agreement and/or any
agreement, certificate, instrument or other document executed and delivered by Sellers to Purchaser
in connection with the transactions contemplated hereby, or any side agreement between Sellers and
Purchaser entered into on or after the Agreement Date; and

                  (w)      any Liability that is not an Assumed Liability.

        2.5.     Post-Closing Liabilities. Purchaser acknowledges that Purchaser shall be responsible
for all Liabilities and obligations relating to Purchaser's ownership or use of, or right to use, the
Purchased Assets and the Assumed Liabilities after the Closing Date, including, without limitation,
all Taxes arising out of or related to the Purchased Assets or the operation of conduct of the Business
acquired pursuant to this Agreement for all Tax periods beginning on or after the Closing Date.

         2.6.     Assumption/Rejection of Certain Contracts.

                  (a)     The Sale Order shall provide for the assumption by Sellers, and the
assignment to the extent legally capable of being assigned by Sellers to Purchaser, of the Assigned
Contracts on the terms and conditions set forth in the remainder of this Section 2.6, and shall provide
for the Designation Deadline as defined herein. At Purchaser's request, Sellers shall reasonably
cooperate from the date hereof forward with Purchaser as reasonably requested by Purchaser: (i) to
allow Purchaser to enter into an amendment of any Lease or Contract upon assumption of such Lease
or Contract by Purchaser (and Sellers shall reasonably cooperate with Purchaser to the extent
reasonably requested with Purchaser in negotiations with the lessors and contract counterparties
thereof), or (ii) to otherwise amend any Lease or Contract to the extent such amendments would not
adversely affect Sellers; provided, that Sellers shall not be required to enter into any such amendment
if such amendment would result in an assumption by Sellers of such Lease or Contract, unless such
Lease or Contract will be assigned to Purchaser at the time of such assumption.

                (b)     Purchaser shall, prior to the auction scheduled pursuant to Bidding
Procedures Order, identify the Non-Real Property Contracts and Leases that Purchaser has decided
will be Assigned Contracts to be assumed and assigned to Purchaser on the Closing Date by
providing a list thereof to Sellers (as updated in accordance with this Agreement, the "Closing
Assumed Contract List"). Up to three (3) Business Days prior to the Closing Date, Purchaser may,
in its sole discretion, add or remove any Non-Real Property Contract or Lease as an Assigned
Contract to be assumed and assigned to Purchaser on the Closing Date by amending the Closing
Assumed Contract List, and, in connection with the Closing, the Sellers shall move in the Bankruptcy
Court to assign any such Non-Real Property Contract or Lease on the Closing Assumed Contract List
to Purchaser, and at the Closing shall assume and assign to, and Purchaser shall accept the
assignment of and assume such Non-Real Property Contract or Lease. In advance of the Closing
Date, Purchaser may, in its sole discretion, designate a Non-Real Property Contract or Lease for
exclusion and rejection by delivering written notice to Sellers and, in connection with the Closing,
the applicable Sellers shall move to reject any such Non-Real Property Contract or Lease as of the
Closing Date (which date shall constitute the Rejection Effective Date (defined below) with respect
thereto).

                (c)    From and after the Closing Date until the Designation Deadline, with respect
to any Non-Real Property Contract or Lease that was neither included on the Closing Assumed
Contract List nor excluded and rejected as of the Closing Date, Purchaser may, in its sole discretion,
(i) designate such Non-Real Property Contract or Lease as an Assigned Contract by providing written

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notice to Sellers, specifying the Non-Real Property Contracts or Leases to be assumed by Sellers and
assigned to Purchaser, or (ii) designate such Non-Real Property Contract or Lease for exclusion and
rejection for purposes of this Agreement and, if executory, to be rejected by providing written notice
to Sellers, specifying the Non-Real Property Contracts or Leases to be excluded and rejected by the
applicable Seller and the date that such rejection shall be effective, which rejection shall be effective
upon the delivery of such notice to Seller (each, a "Rejection Effective Date"). Upon delivery of a
notification by Purchaser with respect to any Non-Real Property Contract or Lease under Section
2.6(c)(i), the applicable Seller shall move in the Bankruptcy Court within five (5) days of receipt of
such notice to assign such Non-Real Property Contract or Lease to Purchaser and shall assume and
assign to, and Purchaser shall accept the assignment of and assume such Non-Real Property Contract
or Lease. Upon delivery of a notification by Purchaser with respect to any Non-Real Property
Contract or Lease under Section 2.6(c)(ii), the applicable Seller shall move in the Bankruptcy Court
within five (5) days of receipt of such notice to reject such Non-Real Property Contract or Lease as
of the applicable Rejection Effective Date. In the event that Purchaser has not provided a written
designation to assume and assign or reject any Non-Real Property Contract or Lease pursuant to this
Section 2.6(c) by the Designation Deadline, then such Non-Real Property Contract or Lease shall be
deemed to be excluded and Sellers may move in the Bankruptcy Court to reject such Non-Real
Property Contract or Lease as of the Designation Deadline (which Designation Deadline shall
constitute the Rejection Effective Date with respect thereto), and no Seller shall have any obligation
to assign any such Non-Real Property Contract or Lease to Purchaser hereunder. Any Non-Real
Property Contract or Lease that is designated (or deemed to be designated) for exclusion and
rejection pursuant to this Section 2.6(c) shall constitute an "Excluded Contract" as of the Closing
Date or, if thereafter, as of the Rejection Effective Date. To the extent that a Non-Real Property
Contract or Lease has not at Closing been designated as an Excluded Contract or an Assigned
Contract, then, until the Rejection Effective Date, Purchaser shall be obligated to perform or cause to
be performed all of Sellers' obligations under such Non-Real Property Contract or Lease, and
Purchaser shall be entitled to all benefits of Sellers thereunder; provided, that no Cure Amount shall
be due with respect to such Non-Real Property Contract or Lease until the permanent assumption
thereof at Assumption Approval in accordance with Section 2.6(h).

               (d)      After the Closing and prior to the Designation Deadline, Sellers shall not
terminate, amend, supplement, modify, waive any rights under, or create any Lien with respect to any
Non-Real Property Contract or any Lease, or take any affirmative action not required by the terms
thereof, without the prior written consent of Purchaser (not to be unreasonably withheld or delayed),
unless Purchaser has provided notice to Sellers in writing designating such Non-Real Property
Contract or Lease for rejection pursuant to Section 2.6(c).

                 (e)    Within three (3) Business Days of Purchaser's delivery of any notice of
removal or designation of any Non-Real Property Contract or Lease as an Assigned Contract by
Purchaser pursuant to Section 2.6(c), or such lesser time as is approved by the Bankruptcy Court,
Sellers shall give notice of the removal or designation of such Non-Real Property Contract or Lease
as an Assigned Contract to the other parties thereto.

                (f)     As part of the Sale Motion (or as necessary in one or more separate motions),
Sellers shall request that, by virtue of Sellers' providing ten (10) days' prior notice of its intent to
assume and assign any Contract or Lease, the Bankruptcy Court deem any non-debtor party to such
Contract or Lease that does not file an objection with the Bankruptcy Court during such notice period
to have given any required Consent to the assumption of the affected Contract or Lease by the
relevant Seller and assignment to Purchaser.

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                 (g)    In connection with the assumption and assignment to Purchaser of any
Assigned Contract that is executory pursuant to this Section 2.6, the Cure Amounts, as determined by
the Bankruptcy Court, if any, necessary to cure all defaults, if any, and to pay all actual or pecuniary
losses that have resulted from such defaults under the Assigned Contracts, including any amounts
payable to any landlord under any Lease that is an Assigned Contract that relates to the period prior
to the Assumption Approval, shall be paid by Seller, on or before the Assumption Approval, and not
by Purchaser and Purchaser shall have no liability therefor, and neither the Cure Amounts paid by
nor the expense of any other obligation set forth in this Section 2.6(g) shall increase, directly or
indirectly, any consideration received by Sellers hereunder.

                (h)    Sellers shall use its commercially reasonable efforts to obtain an order of the
Bankruptcy Court to assign the Assigned Contracts to Purchaser (the "Assumption Approval") on the
terms set forth in this Section 2.6. In the event Sellers are unable to assign any such Assigned
Contract to Purchaser pursuant to an order of the Bankruptcy Court, then the Parties shall use their
commercially reasonable efforts until the Designation Deadline to obtain, and to cooperate in
obtaining, all Consents from Governmental Entities and third parties necessary to assume and assign
such Assigned Contracts to Purchaser.

                 (i)     To the extent that any Consent that is required to assign to Purchaser any
Assigned Contract is not obtained by the Designation Deadline, Sellers shall, with respect to each
such Assigned Contract, from and after the Closing and until the earliest to occur of (x) the date on
which such applicable Consent is obtained (which Consents the Parties shall use their reasonable best
efforts, and cooperate with each other, to obtain promptly; provided, however, that none of the
Parties or any of their respective Affiliates shall be required to pay any consideration therefor other
than filing, recordation or similar fees, which shall be borne by Purchaser), and (y) the date on which
such Contract is rejected following the written request of Purchaser, use commercially reasonable
efforts during the term of such Assigned Contract to (i) provide to Purchaser the benefits under such
Assigned Contract, (ii) cooperate in any reasonable and lawful arrangement (including holding such
Contract in trust for Purchaser pending receipt of the required Consent) designed to provide such
benefits to Purchaser and (iii) use its commercially reasonable efforts to enforce for the account of
Purchaser any rights of Sellers under such Assigned Contract (including the right to elect to terminate
such Assigned Contract in accordance with the terms thereof upon the written direction of
Purchaser). Purchaser shall reasonably cooperate with Sellers in order to enable Seller to provide to
Purchaser the benefits contemplated by this Section 2.6(i).

                (j)      Notwithstanding the foregoing, a Contract shall not be an Assigned Contract
hereunder and shall not be assigned to, or assumed by, Purchaser to the extent that such Contract (i)
is rejected by Sellers or terminated by Sellers in accordance with the terms hereof or by the other
party thereto, or terminates or expires by its terms, on or prior to the Designation Deadline and is not
continued or otherwise extended upon assumption, or (ii) requires a Consent of any Governmental
Entity or other third party (other than, and in addition to, that of the Bankruptcy Court) in order to
permit the sale or transfer to Purchaser of Sellers' rights under such Contract, and no such Consent
has been obtained prior to the Designation Deadline. In addition, a Permit shall not be assigned to, or
assumed by, Purchaser to the extent that such Permit requires a Consent of any Governmental Entity
or other third party (other than, and in addition to, that of the Bankruptcy Court) in order to permit
the sale or transfer to Purchaser of Sellers' rights under such Permit, and no such Consent has been
obtained prior to the Closing.



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                                             ARTICLE III.

                                           CONSIDERATION

         3.1.     Consideration.

                (a)    The aggregate consideration (collectively, the "Purchase Price") to be paid
for the purchase of the Purchased Assets, and subject to adjustment in accordance with Section 3.2
below, shall be:

                         (i)     $12,250,000, which shall be satisfied in the form of a credit bid (the
                  "Credit Bid") of the Pre-Petition Financing Obligations and the DIP Financing
                  Obligations outstanding as of the Closing Date, in accordance with Section 363(k) of
                  the Bankruptcy Code, and

                  (b)      (ii)    the assumption of Assumed Liabilities.

               (c)     On the Closing Date, any payment required to be made pursuant to any
provision hereof in cash, if any, shall be made by the Purchaser by wire transfer of immediately
available funds to such bank account as shall be designated in writing by the Seller not later than
two (2) Business Days prior to the Closing Date.

         3.2.     Withholding.

                (a)     Notwithstanding any other provision of this Agreement to the contrary,
Purchaser shall be entitled to deduct and withhold from any consideration or other amounts
payable to any Person pursuant to this Agreement such amounts as it is required to deduct and
withhold with respect to the payment of such consideration or other amounts under any provision
of U.S. federal, state, local, or non-U.S. Tax law. If Purchaser determines that any deduction or
withholding is required, Purchaser will provide prior written notice to Sellers of any such
determination within a commercially reasonable amount of time prior to the Closing Date;
provided, that in no event shall Purchaser be required to pay any additional amounts in respect of
such withholding or deduction. Any amounts so deducted and withheld shall be treated for all
purposes of this Agreement as having been paid to the Person in respect of which such deduction
and withholding was made.

                                              ARTICLE IV.

                                    CLOSING AND TERMINATION

        4.1.     Closing. Subject to the satisfaction or waiver by the appropriate Party of the
conditions set forth in Article X, the closing of the purchase and sale of the Purchased Assets, the
payment of the Purchase Price (or the satisfaction thereof in part through application of the Credit
Bid), the assumption of the Assumed Liabilities and the consummation of the other transactions
contemplated by this Agreement (the "Closing") shall occur as soon as practicable following the
satisfaction or waiver of all conditions set forth in this Agreement (other than those conditions that
by their terms are to be satisfied at the Closing, but subject to the satisfaction or waiver of such
conditions). The Closing shall take place at the offices of Stinson Leonard Street, LLP,1850 N.
Central Avenue, Suite 2100 Phoenix AZ 85004-4584, or at such other place as the Parties may

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agree. Unless otherwise agreed by the Parties in writing, the Closing shall be deemed effective and
all right, title and interest of each of the Sellers in the Purchased Assets to be acquired by Purchaser
hereunder shall be deemed to have passed to Purchaser and the assumption of all of the Assumed
Liabilities shall be deemed to have occurred as of 12:01 a.m. Eastern Time on the Closing Date.
         4.2.      Closing Deliveries by Sellers. At or prior to the Closing, the Sellers shall deliver to
Purchaser:

               (a)     a Bill of Sale substantially in the form of Exhibit A (the "Bill of Sale") duly
executed by each Seller;

                (b)     one or more assignment and assumption agreements substantially in the form
of Exhibit B (the "Assignment and Assumption Agreement") duly executed by the Sellers;

                (c)    one or more Assignment and Assumption of Lease substantially in the form
of Exhibit C (a "Lease Assignment Agreement"), duly executed by Sellers;

                  (d)      a file-stamped copy of the Sale Order;

                 (e)    copies of all instruments, certificates, documents and other filings (if
applicable) necessary to release the Purchased Assets from all Encumbrances, including any
applicable UCC termination statements and releases of Mortgages, all in a form reasonably
satisfactory to Purchaser;

                (f)     copies of the waivers, consents and approvals for those executory contracts
on Schedule 2.1(b), where such waivers, consents and approvals are required to operate the Business
in the ordinary course;

                (g)     an officer's certificate, dated as of the Closing Date, executed by a duly
authorized officer of each of the Sellers certifying that the conditions set forth in Section 10.3 have
been satisfied;

                 (h) a copy of the resolutions adopted by the Board of Directors or similar
governing body of each Seller evidencing the authorization of the execution and delivery of this
Agreement and the consummation of the transactions contemplated hereby, certified by an authorized
officer of Seller;

                  (i)      possession of the Purchased Assets and the Business;

               (j)     certificates executed by Sellers, in the form prescribed under Treasury
Regulation Section 1.1445-2(b), that no Seller is a foreign person within the meaning of Section
1445(0(3) of the Code;

                 (k)     such other bills of sale, deeds, endorsements, assignments and other good and
sufficient instruments of conveyance and transfer, in form reasonably satisfactory to Purchaser, as
Purchaser may reasonably request to vest in Purchaser all of Sellers' right, title and interest of Sellers
in, to or under any or all the Purchased Assets;




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                (l)    such other documents as Purchaser may reasonably request that are not
inconsistent with the terms of this Agreement and customary for a transaction of this nature and
necessary to evidence or consummate the transactions contemplated by this Agreement.

        4.3.     Closing Deliveries by Purchaser. At the Closing, Purchaser shall deliver to (or at the
direction of) the Sellers:

                  (a)      the Assignment and Assumption Agreement duly executed by Purchaser;

                  (b)      the Lease Assignment Agreement duly executed by Purchaser;

              (c)      the Intellectual Property Assignment and Assumption Agreement duly
executed by Purchaser;

                (d)     an officer's certificate, dated as of the Closing Date, executed by a duly
authorized officer of Purchaser certifying that the conditions set forth in Sections 10.2(a) and 10.2(b)
have been satisfied;

                  (e)      other agreements required by the terms of the Agreement; and

               (f)     all other certificates, agreements and other documents required by this
Agreement (or as the Sellers may reasonably request that are customary for a transaction of this
nature and necessary to evidence or consummate the transactions contemplated by this Agreement) to
be delivered by Purchaser at or prior to the Closing in connection with the transactions contemplated
by this Agreement.

        4.4.    Termination of Agreement. This Agreement may be terminated only in accordance
with this Section 4.4. This Agreement may be terminated at any time prior to the Closing, as follows:

                  (a)      by the mutual written consent of the Sellers and Purchaser;

                (b)      by written notice of either the Sellers or Purchaser to such other Party, if the
Closing shall not have been consummated prior to November 30, 2017 (the "Outside Date");
provided, however, that the Outside Date may be extended by the mutual written consent of Sellers
and Purchaser, for a period up to fifteen (15) days to the extent that all conditions to Closing set forth
in this Agreement are capable of being satisfied as of such time; provided, further, however, that a
Party shall not be permitted to terminate this Agreement pursuant to this Section 4.4(b) if such Party
is in material breach of this Agreement; provided, further, however, that if the Closing has not
occurred by the Outside Date, but on such date all of the conditions set forth in Article 10 have been
satisfied or waived (to the extent such conditions may be waived) other than the condition set forth in
Section 10.1(c), then the Outside Date shall automatically be extended until the earlier to occur of the
following: (i) the date all of the conditions set forth in Article 10 have been satisfied or waived (to
the extent such conditions may be waived), or (ii) December 1, 2017 (and such extended date shall be
deemed to be the "Outside Date" for all purposes hereunder) unless two (2) Business Days prior to
the end of the earlier to occur of (i) or (ii) hereof, Purchaser provides written notice to Sellers that it
is no longer extending the Outside Date pursuant to this Section 4.4(b);

             (c)      by written notice from Purchaser to the Sellers, if (i) Sellers seek to have the
Bankruptcy Court enter an Order dismissing, or converting the Bankruptcy Case into a case(s) under


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chapter 7 of the Bankruptcy Code, or appointing a trustee in the Bankruptcy Case or appointing a
responsible officer or an examiner with enlarged powers relating to the operation of the Business
(beyond those set forth in Section 1106(a)(3) or (4) of the Bankruptcy Code) under Section 1106(b)
of the Bankruptcy Code, or (ii) an order of dismissal, conversion or trustee appointment is entered for
any reason and is not reversed or vacated within fourteen (14) days after entry thereof;

                 (d)     by written notice from Purchaser, if (i) the Bidding Procedures Order shall
not have been approved by the Bankruptcy Court by the close of business on September 29, 2017, (ii)
the Bankruptcy Court issues an order granting leave to any Person to commence an appeal of the
Bidding Procedures Order, or (iii) following its entry, the Bidding Procedures Order shall fail to be in
full force and effect or shall have been stayed, reversed, modified or amended in any respect without
the prior written consent of Purchaser;

               (e)     by written notice from Purchaser if (i) the Sale Hearing has not taken place on
or prior to November 11, 2017, (ii) the Bankruptcy Court has not entered the Sale Order on or prior
to November 15, 2017, or (iii) the Sale Order shall have been stayed (and such stay results in the
Closing not being consummated prior to the Outside Date), vacated, modified or supplemented
without Purchaser's prior written consent;

                 (f)     by written notice from Purchaser, if (i) the Sale Order has not become a Final
Order within fourteen (14) days after the entry thereof, or (ii) following its entry, the Sale Order shall
fail to be in full force and effect or shall have been stayed (and such stay results in the Closing not
being consummated prior to the Outside Date), reversed, modified or amended in any respect without
the prior written consent of Purchaser;

                (g)    by written notice of either the Sellers or Purchaser, if Seller has entered into
an Alternative Transaction;

                  (h)      automatically upon the consummation of an Alternative Transaction;

                (i)      by written notice from the Sellers to Purchaser, if Purchaser breaches or fails
to perform in any respect any of its representations, warranties or covenants contained in this
Agreement and such breach or failure to perform: (i) would give rise to the failure of a condition set
forth in Article X, (ii) cannot be or has not been cured within ten (10) days following delivery of
notice to Purchaser of such breach or failure to perform and (iii) has not been waived by the Sellers;
or

                (j)      by written notice from Purchaser to the Sellers, if Sellers breach or fail to
perform in any respect any of their representations, warranties or covenants contained in this
Agreement and such breach or failure to perform: (i) would give rise to the failure of a condition set
forth in Article X, (ii) cannot be or has not been cured within ten (10) days following delivery of
notice to the Sellers of such breach or failure to perform and (iii) has not been waived by Purchaser.

         Each condition set forth in this Section 4.4, pursuant to which this Agreement may be
terminated shall be considered separate and distinct from each other such condition. If more than one
of the termination conditions set forth in this Section 4.4 is applicable, the applicable Party shall have
the right to choose the termination condition pursuant to which this Agreement is to be terminated.
The Parties acknowledge and agree that no notice of termination or extension of the Outside Date
provided pursuant to this Section 4.4 shall become effective until two (2) Business Days after the

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delivery of such notice to the other Parties, and only if such notice shall not have been withdrawn
during such two (2) Business Day period.

         4.5.   Procedures Upon Termination. In the event of termination and abandonment by
Purchaser or Sellers, or both such Parties, pursuant to Section 4.4 hereof, written notice thereof shall
forthwith be given to the other Party or Parties, and this Agreement shall terminate, and the purchase
of the Purchased Assets and the assumption of the Assumed Liabilities hereunder shall be
abandoned, without further action by Purchaser or Sellers. If this Agreement is terminated as
provided herein, each Party shall return all documents, work papers and other material of any other
Party relating to the transactions contemplated hereby, whether so obtained before or after the
execution hereof, to the Party furnishing the same. If this Agreement is terminated pursuant to
Section 4.4(h), Sellers shall pay to Purchaser the Expense Reimbursement plus the Break-Up Fee,
and the Parties shall have no further obligations to one another except for any obligations that, by
their terms, survive the termination of this Agreement, as described in Section 4.6.

         4.6.    Effect of Termination. In the event of termination of this Agreement pursuant to
Section 4.4, this Agreement shall forthwith become null and void and there shall be no liability on
the part of any Party or any of its partners, officers, directors or shareholders; provided, however, that
(a) this Section 4.6, Section 3.4, the Sellers' obligation to pay the Bid Protections pursuant to Section
8.1, Article XII (Miscellaneous), and the Bidding Procedures Order (if entered) shall survive any
such termination. All remedies hereunder are cumulative and are not exclusive of any other remedies
provided by Law. Each Party acknowledges that the agreements contained in this Section 4.6 and in
Section 4.5 are an integral part of the transactions contemplated by this Agreement, that without
these agreements such Party would not have entered into this Agreement, and that any amounts
payable pursuant to this Section 4.6 and Section 4.5 do not constitute a penalty.

                                             ARTICLE V.

                   REPRESENTATIONS AND WARRANTIES OF THE SELLER

       Subject to the exceptions noted in the schedules delivered by the Sellers concurrently
herewith, the Sellers represent and warrant to Purchaser as follows as of the date hereof and as of the
Closing Date:

        5.1.     Organization and Qualification. Each Seller is duly incorporated or organized, validly
existing and in good standing under the Laws of the jurisdiction of its formation. Each Seller has all
requisite power and authority to own, lease and operate its properties and to carry on its business
(including the Business) as it is now being conducted, subject to the provisions of the Bankruptcy
Code. Each Seller has previously delivered to Purchaser complete and correct copies of its
Organizational Documents, as amended and in effect on the Agreement Date. Each Seller is duly
qualified or licensed to do business and is in good standing in each jurisdiction where the character of
the Business or the nature of its properties makes such qualification or licensing necessary, except for
such failures to be so qualified or licensed or in good standing as would not, individually or in the
aggregate, have a Material Adverse Effect.

        5.2.   Authorization of Agreement. Subject to the entry of the Sale Order, Sellers have all
requisite power and authority to execute and deliver this Agreement and each of the Ancillary
Documents to which it is a party, to perform their obligations hereunder and thereunder, and to
consummate the transactions contemplated hereby and thereby. The execution and delivery of this

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Agreement and each of the Ancillary Documents to which they are a party, the performance by
Sellers of their obligations hereunder and thereunder and the consummation of the transactions
contemplated hereby and thereby have been duly and validly authorized by all necessary action on
the part of Sellers. This Agreement has been, and at or prior to the Closing, each of the Ancillary
Documents to which they are a party will be, duly and validly executed and delivered by Sellers and
(assuming the due authorization, execution and delivery by the other Parties, and the entry of the Sale
Order) this Agreement constitutes, and each Ancillary Document to which they are a party when so
executed and delivered (assuming the due authorization, execution and delivery by the other parties
thereto) will constitute, legal, valid and binding obligations of Sellers, enforceable against Sellers in
accordance with its terms. Subject to entry of the Sale Order, except (a) as required to comply with
the HSR Act, (b) for entry of the Sale Order, (c) for notices, filings and consents required in
connection with the Bankruptcy Case and (d) for the notices, filings and consents set forth on
Schedule 5.2, no Seller is required to give any notice to, make any registration, declaration or filing
with or obtain any consent, waiver or approval from, any Person (including any Governmental Body)
in connection with the execution and delivery of this Agreement and each of the Ancillary
Documents or the consummation or performance of any of the transactions contemplated hereby and
thereby, other than such notices, registrations, declarations, filings, consents, waivers, or approvals,
the failure of which to make or obtain would not have a Material Adverse Effect.

         5.3.     Conflicts; Consents; Compliance with Law.

                 (a)     Except as set forth on Schedule 5.3(a), the execution, delivery and
performance by Sellers of this Agreement or any Ancillary Document to which they are a party, the
compliance by Sellers with any of the provisions hereof or thereof, the consummation of the
transactions contemplated hereby or thereby and the taking by Sellers of any other action
contemplated hereby or thereby, do not and will not contravene, violate or conflict with any term or
provision of its respective Organizational Documents.

                 (b)     Except (i) for the entry of the Sale Order, (ii) for filings as may be required
under the HSR Act, and (iii) as set forth on Schedule 5.3(b), no filing with, notice to or consent from
any Person is required in connection with the execution, delivery and performance by Sellers of this
Agreement or the Ancillary Documents to which they are a party, the compliance by Sellers with any
of the provisions hereof or thereof, the consummation of the transactions contemplated hereby or
thereby, or the taking by Sellers of any other action contemplated hereby or thereby, other than such
filings, notices or consents, the failure of which to make or obtain would not have a Material Adverse
Effect.

                 (c)     Each Seller is in compliance, in all material respects with all applicable Laws.
Except as set forth on Schedule 5.3(c), neither any Seller nor any Subsidiary has received any
outstanding written notice from any Governmental Body regarding any actual or possible material
violation of, or failure to comply in any material respect with, any Law. Sellers are not in default in
any material respect of any order, writ, injunction, judgment or decree applicable to the Business or
the Purchased Assets.

               (d)      Each Seller is in compliance in all material respects with all applicable laws
and regulations of applicable governmental entities.

        5.4.    Brokers and Finders. Except as set forth on Schedule 5.4, no Person has acted,
directly or indirectly, as a broker, finder or financial advisor for Sellers in connection with the

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transactions contemplated by this Agreement and Purchaser is not or will not become obligated to
pay any fee or commission or like payment to any broker, finder or financial advisor as a result of the
consummation of the transactions contemplated by this Agreement based upon any arrangement
made by or on behalf of Sellers.

        5.5.    Title to Purchased Assets. Other than the Leased Real Property and the personal
property subject to the Personal Property Leases, and except for Permitted Encumbrances, Sellers
have good title to the Purchased Assets and, at the Closing, Purchaser, pursuant to the this Agreement
and the Sale Order, shall acquire good and marketable title in, and under all of such Purchased
Assets, in each case free and clear of all Liens, Encumbrances (other than Permitted Encumbrances)
and other claims and interests to the fullest extent permissible under Section 363(f) of the Bankruptcy
Code. The Purchased Assets include all of the properties and assets required to operate, in all
material respects, the Business in the Ordinary Course of Business. For the sake of clarity, the right
to use any assets included in the Purchased Assets in which Sellers have leasehold or non-ownership
rights to use shall be assigned to Purchaser only through the assumption and assignment of the
Assigned Contracts in accordance with and subject to this Agreement.

         5.6.     Real Property.

                (a)     Schedule 5.6(a) contains a list and brief description of all Leased Real
Property held or used for, or necessary to the operation of the Business. Each Seller has made
available true and complete copies of all leases with respect to such Leased Real Property
(individually, a "Lease"; and collectively the "Leases") to Purchaser. To Sellers' Knowledge, other
than as noted on Schedule 5.6(a), none of the Leased Real Property is subject to any sublease or grant
to any Person of any right to the use, occupancy or enjoyment of the Leased Real Property or any
portion thereof that would materially impair the use of the Leased Real Property in the operation of
the Business. To Sellers' Knowledge, the Leased Real Property is not subject to any Encumbrances
(other than Permitted Encumbrances) that were placed on the Leased Real Property through the
action or inaction of Sellers and materially impact the Business use of the Leased Real Property. To
Sellers' Knowledge, the Leased Real Property is not subject to any use restrictions, exceptions,
reservations or limitations which in any material respect interfere with or impair the present and
continued use thereof in the Ordinary Course of Business. To Sellers' Knowledge, there are no
pending or threatened condemnation proceedings related to the Leased Real Property. No rent under
any Lease has been paid more than one month in advance.

                (b)    To the Sellers' Knowledge, no Leased Real Property serves any adjoining
property for any purpose inconsistent with the use of the Leased Real Property and, to Sellers'
Knowledge, no Leased Real Property is located within a flood plain or subject to any similar type of
construction for which Permits necessary to the use thereof have not been obtained. To the Sellers'
Knowledge, neither the current use of the Leased Real Property nor the operation of the Business
violates any instrument of record or agreement or any applicable legal requirements, building code or
zoning ordinance. To the Sellers' Knowledge, neither the whole nor any material portion of any
Leased Real Property has been damaged or destroyed by fire or casualty.

               (c)    No Seller is a "foreign person," foreign trust" or "foreign corporation" within
the meaning of the Code.

       5.7.   Tangible Personal Property. Schedule 5.7 sets forth all leases of personal property
("Personal Property Leases") relating to personal property used by Sellers or to which a Seller is a

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party or by which the properties or assets of such Seller is bound, in each case relating to the
Business. Sellers have a valid and enforceable leasehold interest under each Personal Property Lease
under which it is a lessee.

         5.8.    Intellectual Property. Schedule 5.8 sets forth an accurate and complete list of all
Intellectual Property necessary to the Business as currently conducted, including, without limitation,
all intellectual property and proprietary rights of any kind, including the following: (i) trademarks,
service marks, trade names, slogans, logos, designs, symbols, trade dress, internet domain names,
uniform resource identifiers, rights in design, brand names, any fictitious names, d/b/a's or similar
filings related thereto, or any variant of any of them, and other similar designations of source or
origin, together with all goodwill, registrations and applications related to the foregoing; (ii)
copyrights and copyrightable subject matter (including any registration and applications for any of
the foregoing); (iii) trade secrets and other confidential or proprietary business information
(including manufacturing and production processes and techniques, research and development
information, technology, intangibles, drawings, specifications, designs, plans, proposals, technical
data, financial, marketing and business data, pricing and cost information, business and marketing
plans, customer and supplier lists and information), know how, proprietary processes, formulae,
algorithms, models, industrial property rights, and methodologies; (iv) computer software, computer
programs, and databases (whether in source code, object code or other form); and (v) all rights to sue
for past, present and future infringement, misappropriation, dilution or other violation of any of the
foregoing and all remedies at law or equity associated therewith.

        5.9.   Litigation. Except as set forth on Schedule 5.9 and other than in connection with the
Bankruptcy Case, there is no suit, action, litigation, arbitration proceeding or governmental
proceeding or audit, including appeals and applications for review, in progress or pending against or
relating to Sellers or any judgment, decree, injunction, deficiency, rule or order of any court,
governmental department, commission, agency, instrumentality or arbitrator which, in any case,
might adversely affect the ability of Sellers to enter into this Agreement or to consummate the
transactions contemplated hereby and Sellers have no Knowledge of any existing ground on which
any such action, suit or proceeding may be commenced with any reasonable likelihood of success.

         5.10. Permits. Each Seller is in compliance with the material terms of all material Permits
used by Sellers in the Business, and all such Permits are valid and in full force and effect, and no
proceeding is pending or, to the Knowledge of Sellers, threatened, the object of which is to revoke,
limit or otherwise affect any such Permit.

         5.11.    Inventory.

                (a)     All Inventory of Sellers consists of items of a good and merchantable quality
useable or saleable in the Ordinary Course of Business, for the purposes for which they are intended,
subject to normal, customary, or non-material allowances for damage and obsolescence. To Sellers'
Knowledge, no Inventory is materially damaged in any significant way, including but not limited to
damage caused by water, except for any such damage which would not have a Material Adverse
Effect on the Inventory taken as a whole;

                  (b)      To Sellers' Knowledge, the Inventory is not part of a current or past recall;

               (c)    The Inventory is in working condition except for such failure to be in working
condition which would not have a Material Adverse Effect on the Inventory taken as a whole.

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                  (d)      Except as set forth on Schedule 5.11(d), Seller does not hold any Inventory on
consignment.

         5.12. Contracts. The Assigned Contracts include all Contracts material to the ownership
and/or operation of the Business. Except as set forth on Schedule 5.12, Sellers have not, and, to
Sellers' Knowledge, no other party to any Assigned Contract has, commenced any action against any
of the parties to any Assigned Contract or given or received any written notice of any default or
violation under any Assigned Contract that has not been withdrawn or dismissed except to the extent
such default or violation will be cured as a result of the payment of the applicable Cure Amounts.
Assuming payment of the Cure Amounts, each Assigned Contract is, or will be upon the Closing,
valid, binding and in full force and effect in accordance with its terms.

         5.13.    Tax Returns: Taxes.

                (a)     All Tax Returns required to have been filed by the Sellers have been duly and
timely filed and are true, correct and complete in all material respects, and no material fact has been
omitted therefrom. Except as set forth on Schedule 5.13(a), no Seller is not currently the beneficiary
of any extension of time within which to file any Tax Return. True, correct and complete copies of
such Tax Returns have been delivered to Purchaser (or its representatives) prior to the Agreement
Date.

               (b)    Except as set forth on Schedule 5.13(b), All Taxes due and payable by the
Sellers have been paid in full. All Taxes of the Sellers attributable to Tax periods (or portions
thereof) commencing after the date hereof have arisen in the ordinary course of business.

              (c)     Sellers have not waived any statute of limitations affecting any Liability for
Taxes or agreed to any extension of time during which a Tax assessment or deficiency assessment
may be made or extending the time within which to file any Tax Return.

                (d)     No amount of income (or deduction) will be required to be included in (or
excluded from) taxable income by any Person for any Post-Closing Tax Period with respect to the
Purchased Assets or the Business as a result of any prepaid amount received during a Pre-Closing
Tax Period, or for any other reason.

                (e)     Except as set forth on Schedule 5.13(e), no material Tax Proceeding is being
asserted in writing with respect to the Sellers, nor to the Knowledge of the Sellers has any claim with
respect to Taxes been threatened or asserted. All deficiencies for Taxes asserted or assessed against
Sellers have been fully and timely paid or settled.

               (f)     Except as set forth on Schedule 5.13(f), no Seller is a party to any Tax
sharing, indemnity or similar agreement (written or otherwise), and Sellers have no Liability for the
Taxes of any other Person as a transferee or successor, or by Contract or otherwise. To Sellers'
Knowledge, no Seller has received any Tax Refund to which it is not entitled, either pursuant to
applicable Law or any Contract.

               (g)     Except as set forth on Schedule 5.13(g), no Encumbrances or other liens with
respect to Taxes have been filed on or with respect to the Purchased Assets or the Business.




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               (h)     Each Seller has properly and timely imposed, collected and paid all sales, use
and similar Taxes as required by Law with respect to the sale, rental or lease of any product or
service in connection with the Purchased Assets and the Business.

                (i)     No transaction contemplated by this Agreement is subject to withholding
under any Law (including Section 1445 of the Code), and the Purchaser's acquisition of the
Purchased Assets will not otherwise result in any Tax liability to the Purchaser (or any direct or
indirect owner thereof).

                 (j)     No Seller has ever been subject to Tax in a jurisdiction in which it does not
currently file Tax Returns or pay Taxes, and no claim has been made by any Governmental Body in a
jurisdiction where such Seller does not file Tax Returns that it is or may be subject to Tax by that
jurisdiction. Sellers have no permanent establishment in any country other than the United States.

        For purposes of this Section 5.13, any reference to a Seller shall be deemed to include any
Person that merged, or was merged, with or was liquidated into such Seller.

         5.14.    Employees; Sellers' Benefit Plans.

                (a)   Sellers have provided Purchaser with a true, complete and correct list of the
Employees as of the Agreement Date, specifying their position, annual salary and date of hire. The
Sellers are in compliance in all material respects with all Laws relating to the employment or
termination of employment of the Employees.

                (b)   Except as set forth on Schedule 5.14(b), there are no material Actions
pending or, to the Knowledge of Sellers, threatened, against any Seller by any Employee.

                (c)     Set forth on Schedule 5.14(c) is a true and complete list of each Benefit Plan.
As applicable with respect to each Benefit Plan, the Sellers have delivered to Purchaser true and
complete copies of (i) each Benefit Plan, including all amendments thereto, and in the case of an
unwritten Benefit Plan, a written description thereof, (ii) all current trust documents, investment
management contracts, custodial agreements and insurance contracts relating thereto, (iii) the current
summary plan description and each summary of material modifications thereto, (iv) the annual report
(Form 5500 and all schedules thereto) for the past two years, (v) the most recent Internal Revenue
Service ("IRS") determination or opinion letter and (vi) the annual report, actuarial report, financial
statement and trustee report for the past two years.

                (d)     Other than as set forth on Schedule 5.14(d), Each Benefit Plan has been
maintained, operated and administered in compliance in all material respects with its terms and any
related documents or agreements and the applicable provisions of ERISA, the Code and all other
Laws. All contributions or other amounts payable by the Sellers with respect to each Benefit Plan in
respect of current or prior plan years have been paid or accrued on the Financial Statements (other
than with respect to amounts not yet due).

                (e)     The Benefit Plans which are "employee pension benefit plans" within the
meaning of Section 3(2) of ERISA and which are intended to meet the qualification requirements of
Section 401(a) of the Code (each, a "Pension Plan") have received determination letters from the
IRS to the effect that such plans are qualified and exempt from federal income taxes under Sections



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401(a) and 501(a) of the Code, respectively, and nothing has occurred that would reasonably be
expected to adversely affect the qualification of such Benefit Plan.

                  (f)      Reserved.

                (g)     There are no pending audits or investigations by any governmental agency
involving any Benefit Plan, and no pending or threatened claims (except for individual claims for
benefits payable in the normal operation of the Benefit Plans), suits or proceedings involving any
Benefit Plan, any trust or other funding medium thereof, fiduciary thereof or service provider thereto,
nor to the Knowledge of the Sellers is there any reasonable basis for any such claim, suit or
proceeding. There has not been any nonexempt prohibited transaction, within the meaning of Section
406 of ERISA or Section 4975 of the Code, with respect to any Benefit Plan.

               (h)     No Benefit Plan provides benefits, including, without limitation, death or
medical benefits, beyond termination of service or retirement other than (A) coverage mandated by
law or (B) death or retirement benefits under a Benefit Plan qualified under Section 401(a) of the
Code and neither the Sellers nor any ERISA Affiliate has made a written or oral representation
promising the same.

                 (i)     The Sellers' execution of, and performance of the transactions contemplated
by this Agreement will not either alone or in connection with any other event(s) (I) result in any
payment or benefit, or increase in payments or benefits or acceleration in the timing of payments or
benefits becoming due to any current or former employee, director, officer, or independent contractor
of Seller, (II) limit the right to merge, amend or terminate any Benefit Plan or (III) result in the
payment or provision of an "excess parachute payment" under Section 280G of the Code, whether
under a Benefit Plan or otherwise.

                (j)     Each Benefit Plan that constitutes a "non-qualified deferred compensation
plan" within the meaning of Section 409A of the Code, complies in both form and operation with the
requirements of Section 409A of the Code so that no amounts paid pursuant to any such Benefit Plan
is subject to Tax under Section 409A of the Code.

                (k)     Other than as set forth on Schedule 5.14(k), the Sellers have performed all
obligations required to be performed by them and are not in any respect in default under or in
violation of any Benefit Plan, nor do the Sellers have any Knowledge of any such default or violation
by any other party to any Benefit Plan.

         5.15.    Labor Matters.

                (a)     Other than as set forth on Schedule 5.15(a), (i) no Seller is a party to any
labor or collective bargaining agreement with respect to its Employees, (ii) no Employee of any
Seller is represented by any labor organization, (iii) no labor organization or group of Employees of
Sellers has made a pending demand for recognition or request for certification, (iv) and there are no
representation or certification proceedings or petitions seeking a representation election presently
pending or, to the Knowledge of Sellers, threatened, to be brought or filed with the National Labor
Relations Board or other labor relations tribunal involving Sellers.

              (b)     There are no strikes, lockouts, work stoppages or slowdowns pending or, to
the Knowledge of Sellers, threatened against or involving Sellers.

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                (c)      Other than as set forth on Schedule 5.15(c), there are no unfair labor practice
charges, arbitrations, grievances or complaints pending or, to the Knowledge of Sellers, threatened in
writing against Sellers relating to the employment or termination of employment of any individual by
Sellers except those which, individually or in the aggregate, would not reasonably be expected to
have a Material Adverse Effect.

               (d)      Other than as set forth on Schedule 5.15(d),there are no complaints, charges,
administrative proceedings or claims against any Seller pending or, to the Knowledge of Sellers,
threatened in writing to be brought or filed with any Governmental Body based on or arising out of
the employment by Sellers of any Employee except those which, individually or in the aggregate
would not reasonably be expected to have a Material Adverse Effect.

                (e)     Other than as set forth on Schedule 5.15(e), no Seller has incurred any
liability or obligation under the WARN Act or similar state Laws, which remains unpaid or
unsatisfied.

                 (f)     Except as set forth on Schedule 5.15(f), the employment of each Employee of
Seller is at-will. Schedule 5.15(f) lists all written (and includes a summary of all legally binding oral)
employment and consulting agreements to which Sellers are a party or by which it is bound in
connection with the Business. Complete and correct copies of the agreements or arrangements listed
and summarized on Schedule 5.15(f) have been provided or made available to Purchaser.

        5.16. Bank Accounts. Schedule 5.16 sets forth a complete list of all bank accounts
(including any deposit accounts, securities accounts and any sub-accounts) of Sellers.

         5.17.    Financial Statements.

                 (a)     Sellers have delivered to Purchaser the consolidated balance sheets of the
Sellers and the Sellers' Subsidiaries as of, and consolidated statements of operations, stockholder's
equity (deficit) and cash flows for, the fiscal years ended December 31, 2013, (collectively, the
"Audited Financial Statements"). The Audited Financial Statements have been prepared in
accordance GAAP consistently applied in accordance with the Sellers' past practice throughout the
periods indicated. Sellers have also delivered to Purchaser unaudited condensed consolidated balance
sheets for the Sellers and the Sellers' Subsidiaries as of July 31, 2017, and the condensed
consolidated statements of operations, stockholder's equity (deficit) and cash flows for the period
then ending December 31, 2016 (collectively, the "Unaudited Financial Statements"). The
Unaudited Financial Statements have been prepared in accordance with GAAP consistently applied
in accordance with Sellers' past practice except for the absence of footnotes and customary year-end
adjustments (none of which will be material). The Audited Financial Statements and the Unaudited
Financial Statements (together the "Financial Statements") (i) are true, correct and complete in all
material respects, (ii) are in accordance in all material respects with the books and records of Sellers,
and (iii) fairly present in all material respects the financial position of Sellers at the dates specified
and the results of their operations for the period covered. The copies of the Financial Statements
delivered to Purchaser are true, correct and complete copies.

                (b)     No Seller or any of its respective consolidated Subsidiaries has, as of the date
of this Agreement, any material Liabilities or material obligations, in each case of a nature required
by GAAP to be reflected in a consolidated balance sheet or the notes thereto, except for Liabilities or
obligations (i) reflected or adequately reserved against in the Audited Financial Statements, (ii)

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contemplated by or under this Agreement or incurred in connection herewith in compliance with the
terms of this Agreement or (iii) incurred in the Ordinary Course of Business.

        5.18. Internal Controls. Other than as set forth on Schedule 5.18, since July 31, 2017, to
the Knowledge of Sellers, neither the Sellers nor any Seller Subsidiary has received any complaint,
allegation, assertion or claim regarding the accounting or auditing practices, procedures,
methodologies or methods of the Sellers or any of the Seller Subsidiaries or their respective internal
accounting controls relating to periods after July 31, 2017, except for any complaints, allegations,
assertions or claims that have not had, and would not reasonably be expected to have, individually or
in the aggregate, a Material Adverse Effect.

        5.19. WARN Act. Other than as set forth on Schedule 5.19, Sellers have not, within the
ninety (90) days immediately prior to the Closing Date, in whole or in part taken any action or
actions which would, independently of the transaction contemplated hereby or any act or omission of
Purchaser or any of its Affiliates after the Closing Date, result in a plant closing or mass layoff,
temporary or otherwise, within the meaning of the WARN Act, or any similar Legal Requirement.

         5.20. Environmental Matters. Except as set forth on Schedule 5.20 and except for facts,
circumstances or conditions that would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect, (a) with respect to the Purchased Assets, there is no Order with
any Governmental Body nor has Seller received any verbal or written notice, complaint or inquiry
from a Governmental Body respecting Environmental Laws, (b) there is no investigation, action or
proceeding pending, or, to the Knowledge of Sellers, threatened that could reasonably be expected to
result in any Seller(s) or Purchaser incurring any Environmental Liabilities or Obligations, (c) Sellers
are not aware of and have not caused or allowed the Release of Hazardous Materials at, on or under
the Assumed Leased Real Property, and (d) Sellers maintains have obtained and have complied with
all Permits, and all Permits remain effective which are required under or pursuant to Environmental
Laws for the operation of the Purchased Assets. Sellers have delivered or made available to
Purchaser copies of all Permits, Permit applications, reports, assessments or tests with respect to
compliance of the Purchased Assets with any Environmental Laws or the presence of Hazardous
Material which are in the Sellers' possession, custody or control, including the following records: (i)
reports concerning the removal of underground storage tanks from the Assumed Leased Real
Property and Remedial Actions; (ii) correspondence from Government Bodies informing Sellers that
no further action is required to address Releases which have been the subject of Remedial Action
conducted by or on behalf of Sellers; (iii) the most recent final Phase I Environmental Site
Assessment reports for any Assumed Leased Real Property; (v) Permits, Permit applications, and
Permit disapprovals; and (iv) inventories of asbestos and asbestos-containing materials, if any, for the
Purchased Assets.

        5.21. Accounts Receivable. The Accounts Receivable, including any Accounts Receivable
arising after the date hereof, (i) have arisen from bona fide transactions entered into by Sellers
involving the sale of goods or the rendering of services in the Ordinary Course of Business; and (ii)
constitute only valid, undisputed claims of Sellers not subject to claims of set-off or other defenses or
counterclaims other than normal cash discounts accrued in the ordinary court of business consistent
with past practice. The Accounts Receivable (including any Accounts Receivable arising after the
date hereof), in each case subject to a reserve for bad debts on the accounting records of the
Business, are due within 90 days after billing. The reserve for bad debts shown on the accounting
records of the Business have been determined in accordance with GAAP, subject to normal year-end
adjustments and the absence of disclosures normally made in footnotes.

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         5.22.    Absence of Certain Changes.

                  (a)      Since September 15, 2017, there has not been a Material Adverse Effect.

              (b)     Except as set forth on Schedule 5.22(b) or as contemplated by this
Agreement, from July 31, 2017 to the Agreement Date, no Seller has:

                         (i)      except for executory contracts and unexpired leases rejected by
         Sellers pursuant to the Sale Order with the prior written consent of Purchaser and other
         unexpired leases, terminated, modified or amended any material Assigned Contract or taken
         any action which materially violates, materially conflicts with or resulted in a material breach
         of any provision of, or constitutes a default under, or give rise to the right of any counterparty
         to accelerate the obligations under or modify the terms of, any Assigned Contract;

                         (ii)    purchased or otherwise acquired any material properties or assets
         (tangible or intangible) or sold, leased, transferred or otherwise disposed of any Purchased
         Assets, except for purchases of materials and sales of Inventory in the Ordinary Course of
         Business, permitted, allowed or suffered any of the Purchased Assets to be subjected to any
         Encumbrance (other than Permitted Encumbrances);

                         (iii) waived or released any claim or rights included in or related to the
         Purchased Assets or the Business with a value individually or in the aggregate in excess of
         $50,000 or revalued any of the Purchased Assets, except for adjustments to the value of
         Inventory in the Ordinary Course of Business;

                        (iv)   entered into any material contractual relationship with any third party
         related to the Purchased Assets or the Business, other than in the Ordinary Course of
         Business;

                       (v)     made any material commitments for capital expenditures other than in
         accordance with the DIP Budget;

                         (vi)    other than in the Ordinary Course of Business, increased the benefits
         of or compensation (whether in the form of salary, bonus or otherwise) payable to any
         employee, contractor or consultant of Sellers, or granted any bonus, benefit, payment
         (contingent or otherwise) or other direct or indirect compensation to any employee,
         contractor or consultant of Sellers;

                           (vii)   except as required by Law, adopted, amended or terminated any
         Seller Plan;

                        (viii) except for consequences relating to the filing of the Bankruptcy Case,
         introduced any material change with respect to the operations of the Business;

                         (ix)    suffered any damage or destruction to or loss of any assets or
         properties relating to the Purchased Assets or the Business except for any such damage as
         would not have a Material Adverse Effect on the Business taken as a whole whether or not
         covered by insurance;



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                          (x)    changed in any way Sellers' accounting methods, principles or
         practices other than required by changes in GAAP;

                          (xi)    incurred any Indebtedness or paid, discharged or satisfied any claims,
         liabilities or obligations, other than the incurrence of Indebtedness under the DIP Financing
         and the payment, discharge or satisfaction in the Ordinary Course of Business of Liabilities
         incurred in the Ordinary Course of Business;

                         (xii) allowed any Permit held by any Seller to terminate, expire or lapse
         relating to the Purchased Assets or the Business except for any such damage as would not
         have a Material Adverse Effect on the Business taken as a whole; or

                           (xiii) agreed or committed to do any of the foregoing.

        5.23. No Other Representations or Warranties. Except for the representations, warranties
and covenants of Sellers expressly contained herein, no Seller or its representatives, nor any other
Person, makes any other express or implied warranty (including, without limitation, any implied
warranty of merchantability or fitness for a particular purpose) on behalf of Sellers, including,
without limitation, (a) the probable success or profitability of ownership, use or operation of the
Purchased Assets by Purchaser after the Closing, (b) the probable success or results in connection
with the Bankruptcy Court and the Sale Order, (c) the value, use or condition of the Purchased
Assets, which are being conveyed hereby on an "AS IS", "WHERE IS" condition at the Closing
Date, without any warranty whatsoever (including, without limitation, any implied warranty of
merchantability or fitness for a particular purpose).

                                              ARTICLE VI.

                   REPRESENTATIONS AND WARRANTIES OF PURCHASER

        Subject to the exceptions noted in the schedules delivered by Purchaser concurrently
herewith, Purchaser represents and warrants to the Sellers as follows as of the date hereof and as of
the Closing Date:

        6.1.    Organization and Qualification. Purchaser is duly organized, validly existing and in
good standing under the Laws of its jurisdiction of organization. Purchaser has all requisite power
and authority to own, lease and operate its properties and to carry on its business (including the
Business) as it is now being conducted, except as would not reasonably be expected to have,
individually or in the aggregate, a Material Adverse Effect on the Purchaser's ability to consummate
the transactions contemplated hereby.

        6.2.     Authority. Purchaser has the requisite power and authority to execute and deliver this
Agreement and each of the Ancillary Documents to which it is a party, to perform its obligations
hereunder and thereunder, to consummate the transactions contemplated hereby and thereby and to
assume and perform the Assumed Liabilities. The execution and delivery of this Agreement by
Purchaser and each of the Ancillary Documents to which it is a party, the performance by Purchaser
of its obligations hereunder and thereunder, the consummation of the transactions contemplated
hereby and thereby and the assumption and performance of the Assumed Liabilities have been duly
and validly authorized by all necessary actions on the part of Purchaser. This Agreement has been,
and at or prior to the Closing, each of the Ancillary Documents to which it is a party will be, duly and


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validly executed and delivered by Purchaser. Assuming the due authorization, execution and delivery
of this Agreement and the Ancillary Documents by the Sellers and subject to the effectiveness of the
Sale Order, this Agreement constitutes, and each Ancillary Document to which Purchaser is a party
when so executed and delivered will constitute, legal, valid and binding obligations of Purchaser,
enforceable against Purchaser in accordance with its terms.

        6.3.    No Inconsistent Obligations. Neither the execution and delivery of this Agreement or
any other documents contemplated hereby, nor the consummation of the transactions contemplated
herein or therein in accordance with the Sale Order, will, to Purchaser's knowledge, result in a
violation or breach of, or constitute a default under, (a) the certificate of incorporation, as amended,
the bylaws, or other organizational instruments of Purchaser, (b) any applicable ruling or order of any
Governmental Body, (c) any term or provision of any contract or agreement, (d) any writ, order,
judgment, decree, law, rule, regulation or ordinance, (e) any other commitment or restriction to
which Purchaser is a party, nor will such actions result in the creation of a Lien.

         6.4.     Conflicts: Consents.

               (a)      The execution, delivery and performance by Purchaser of this Agreement or
any Ancillary Document to which it is a party, the compliance by Purchaser with any of the
provisions hereof or thereof, the consummation of the transactions contemplated hereby or thereby
and the taking by Purchaser of any other action contemplated hereby or thereby, do not and will not
contravene, violate or conflict with any term or provision of its Organizational Documents.

                 (b)    Except as set forth on Schedule 6.4(b), no consent, waiver, approval, order or
authorization of, or registration, qualification, designation or filing with any Person or Governmental
Body is required in connection with the execution, delivery and performance by Purchaser of this
Agreement or the Ancillary Documents to which it is a party, the compliance by Purchaser with any
of the provisions hereof or thereof, the consummation of the transactions contemplated hereby or
thereby, the assumption and performance of the Assumed Liabilities or the taking by Purchaser of
any other action contemplated hereby or thereby, other than such filings, notices or consents, the
failure of which to make or obtain would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect on Purchaser's ability to perform its obligations under this
Agreement and the Ancillary Documents to which it is a party, to assume and perform the Assumed
Liabilities or to consummate on a timely basis the transactions contemplated hereby or thereby.

        6.5.    Brokers. No Person has acted, directly or indirectly, as a broker, finder or financial
advisor for Purchaser in connection with the transactions contemplated by this Agreement and Sellers
are not or will not become obligated to pay any fee or commission or like payment to any broker,
finder or financial advisor as a result of the consummation of the transactions contemplated by this
Agreement based upon any arrangement made by or on behalf of Purchaser.

        6.6.   Adequate Assurances Regarding Assigned Contracts. As of the Closing, Purchaser
will be capable of satisfying the conditions contained in Sections 365(b)(1)(C) and 365(f) of the
Bankruptcy Code with respect to the Assigned Contracts.

        6.7.    No Litigation. To Purchaser's knowledge, there are no material actions, suits, claims,
investigations, hearings, or proceedings of any type pending (or, to the knowledge of Purchaser,
threatened) instituted against Purchaser challenging the legality of the transactions contemplated in



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this Agreement (other than with respect to any objection which may be filed in connection with the
Bankruptcy Case).

                                          ARTICLE VII.

                                           EMPLOYEES

         7.1.     Employee Matters.

                (a)    The Purchaser may, but is not required to, extend offers of employment
(which may be for employment with Purchaser or any of its Affiliates) to any of the Sellers'
employees related to the Purchased Assets as of the date hereof who have not been terminated or
otherwise left the employ of the Sellers prior to the Closing Date. Each Seller has made available to
Purchaser a correct and complete list of all the Employees. The Sellers shall provide Purchaser
access to their personnel records and personnel files, and shall provide such other information
regarding the Employees as Purchaser may reasonably request. In the event Purchaser determines to
extend offers of employment to some or all of Sellers' employees, all such Employees who accept
such offers of employment with Purchaser or its Affiliates are hereinafter referred to as the
"Transferred Employees", and such acceptance of offers shall be effective immediately after the
Closing. The Transferred Employees' acceptance of offers from Purchaser shall terminate the
employment of the Transferred Employees with Sellers. Except as provided in Section 7.1(b), each
Transferred Employee shall be eligible to participate in all of Purchaser's employee benefit plans in
accordance with the terms of those plans, to the same extent and in the same manner as new
employees of Purchaser or, at Purchaser's sole discretion, Purchaser may permit or require the
Transferred Employees to continue to participate in the Assumed Plans.

                (b)     Subject to Purchaser's right to terminate any Transferred Employees, with
regard to Transferred Employees only, Purchaser shall provide such Transferred Employee(s) with (i)
base compensation/wage rate that is no lower than that provided to such Transferred Employees as of
the date of this Agreement; and (ii) other employee benefits that are no less favorable in the
aggregate than those provided by Sellers, including, but not limited to, vacation days and other paid-
time-off. For purposes of eligibility, vesting, participation and benefit accrual under any Purchaser
plans and programs providing employee benefits to Transferred Employees after the Closing Date
(the "Post-Closing Plans"), each Transferred Employee shall be credited with his or her years of
service with Seller before the Closing Date to the same extent as such Transferred Employee was
entitled, before the Closing Date, to credit for such service under substantially similar Seller
Employee Benefit Plans in which such Transferred Employees participated before the Closing Date,
except to the extent such credit would result in a duplication of benefits.

                (c)     For purposes of each Post-Closing Plan providing medical, dental, hospital,
pharmaceutical or vision benefits to any Transferred Employee, Purchaser shall use reasonable
efforts to cause to be waived all pre-existing condition exclusions and actively-at-work requirements
of such Post-Closing Plan for such Transferred Employee and his or her covered dependents (unless
such exclusions or requirements were applicable under comparable Benefit Plans). In addition,
Purchaser shall use reasonable efforts to cause any co-payments, deductible and other eligible
expenses incurred by such Transferred Employee and/or his or her covered dependents under any
Benefit Plan providing, medical, dental, hospital, pharmaceutical or vision benefits during the plan
year ending on the Closing Date to be credited for purposes of satisfying all deductible, coinsurance
and maximum out-of-pocket requirements applicable to such Transferred Employee and his or her

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covered dependents for the applicable plan year of each comparable Post-Closing Plan in which he or
she participates.

                 (d)     Purchaser shall assume and honor all vacation days and other paid-time-off
accrued or earned during the one (1) year period ending on the Petition Date, but not yet taken, by
each Transferred Employee as of the Closing Date, which shall be delivered by Sellers to Purchaser
no later than five (5) Business Days after the Closing Date.

                (e)     The Sellers shall be solely responsible for the payment of any severance
payment or benefits that become due to any current or former employee, officer, director, member,
partner or independent contractor as a result of the termination of such individual by Seller or ERISA
Affiliate thereof. The Sellers shall cease to maintain any group health plan as a result of the
transactions contemplated by this Agreement, and Purchaser acknowledges and agrees that to the
extent required by Section 4980B of the Code (and any regulations issued thereunder), Purchaser
shall be responsible for complying with the health care continuation required of COBRA with respect
to any individuals who are deemed to be "M&A Qualified Beneficiaries" (as such term is defined by
COBRA and any regulations issued thereunder) in connection with the transactions contemplated by
this Agreement whether the qualifying event resulting in such coverage occurred before, on or after
the Closing Date. The Purchaser or its Affiliates shall be responsible for any severance benefits for
any Transferred Employee who terminates employment with the Purchaser or such Affiliate after the
Closing Date.

                (f)     At least two (2) days prior to the Closing, Purchaser will provide the Sellers a
list of the Benefit Plans that it will assume, if any (the "Assumed Plans"). Purchaser, on the one
hand, and the Sellers, on the other, shall take such actions as are necessary and reasonably requested
by the other Party to cause Purchaser to assume sponsorship of the Assumed Plans as of the Closing
and to effect the transfer of all assets and benefit liabilities of the Assumed Plans together with all
related trust, insurance policies and administrative services agreements, effective as soon as
practicable following the Closing; provided, however, that Purchaser shall not be assuming or be
responsible for any liabilities or obligations arising with respect to or in connection with such
Assumed Plans to the extent such liabilities or obligations arose prior to Closing or with respect to
any employee or former employee of the Sellers who does not become a Transferred Employee
(except to cause payment for any claim appropriately covered by a transferred insurance policy).

                (g)     On and following the Agreement Date, Sellers and Purchaser shall reasonably
cooperate in all matters reasonably necessary to effect the transactions contemplated by this Section
7.1, including exchanging information and data relating to workers' compensation, employee benefits
and employee benefit plan coverage, and in obtaining any governmental approvals required
hereunder, except as would result in the violation of any applicable Legal Requirement, including
without limitation, any Legal Requirement relating to the safeguarding of data privacy.

                 (h)    The provisions of this Section 7.1 are for the sole benefit of the parties to this
Agreement only and shall not be construed to grant any rights, as a third party beneficiary or
otherwise, to any person who is not a party to this Agreement, nor shall any provision of this
Agreement be deemed to be the adoption of, or an amendment to, any employee benefit plan, as that
term is defined in Section 3(3) of ERISA, or otherwise to limit the right of Purchaser or the Sellers to
amend, modify or terminate any such employee benefit plan. In addition, nothing contained herein
shall be construed to (i) prohibit any amendments to or termination of any employee benefit plans or
(ii) prohibit the termination or, except as otherwise provided in Section 7.1(b), change in terms of

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employment of any employee (including any Transferred Employee) as permitted under applicable
law. Nothing herein, expressed or implied, shall confer upon any employee (including any
Transferred Employee) any rights or remedies (including, without limitation, any right to
employment or continued employment for any specified period) of any nature or kind whatsoever,
under or by reason of any provision of this Agreement.

                                          ARTICLE VIII.

                                BANKRUPTCY COURT MATTERS

         8.1.    Approval of Break-Up Fee and Overbid Protection. Subject to the entry of the
Bidding Procedures Order, in consideration for Purchaser having expended considerable time and
expense in connection with this Agreement and the negotiation hereof and the identification and
quantification of assets of Sellers, Sellers shall pay to Purchaser promptly upon the effective date of
termination of this Agreement in accordance with, and only to the extent provided in, the provisions
of Section 4.5, the Expense Reimbursement and the payment of a break-up fee of one percent (1.0%)
of the Credit Bid (calculated solely by reference to Section 3.1) (the "Break-Up Fee", together with
the Expense Reimbursement, the "Bid Protections"). In addition, the Bidding Procedures Order shall
provide for an initial overbid protection in the amount of Two Hundred Fifty Thousand Dollars
($250,000.00) over and above the aggregate of the Purchase Price and the Bid Protections, and
minimum bid increments thereafter of Two Hundred Fifty Thousand Dollars ($250,000.00) (the
"Overbid Protection"). The obligations of Sellers to pay the Bid Protections (i) shall be entitled to
administrative expense claim status under Sections 503(b)(1)(A) and 507(a)(2) of the Bankruptcy
Code, (ii) shall not be subordinate to any other administrative expense claim against the Sellers, and
(iii) shall survive the termination of this Agreement in accordance with Section 4.6. The Bidding
Procedures Order shall approve the Bid Protections as set forth in this paragraph.

         8.2.     Competing Bid and Other Matters.

               (a)     On the Petition Date, Sellers shall file with the Bankruptcy Court an
application or motion seeking approval of (i) the Bidding Procedures Order and (ii) this Agreement
(a true and complete copy of which shall be attached to such application or motion without
schedules) and the Sellers' authority to enter into this Agreement (the "Sale and Bidding Procedures
Motion"); provided, that such application or motion and all exhibits thereto shall be in form and
substance acceptable to Purchaser, in its sole discretion.

                 (b)     This Agreement and the transactions contemplated hereby are subject to
Sellers' right and ability to consider higher or better competing bids with respect to the Business and
the Purchased Assets (whether in component parts or subsets of the Purchased Assets, or a material
portion of the Purchased Assets as provided herein) pursuant to the Bidding Procedures Order (each a
"Competing Bid"). Following completion of the Auction, if Purchaser is the Prevailing Bidder,
Sellers shall not initiate contact with, solicit or encourage submission of any inquiries, proposals or
offers by, any Person in connection with any sale or other disposition of the Purchased Assets. In
addition, unless otherwise directed by the Bankruptcy Court, if Purchaser is the Prevailing Bidder,
Sellers shall not after completion of the Auction respond to or pursue any proposed Alternative
Transaction or perform any other acts related thereto.

               (c)   If an Auction is conducted, and Purchaser is not the prevailing party at the
conclusion of such Auction (such prevailing party, the "Prevailing Bidder"), Purchaser shall, if its

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bid is determined to be the next highest bid, have the option (but not the obligation), in its sole
discretion, to serve as a back-up bidder (the "Back-up Bidder") and keep Purchaser's bid to
consummate the transactions contemplated by this Agreement on the terms and conditions set forth
in this Agreement (as the same may be improved upon in the Auction) open and irrevocable until the
earlier of (i) 5:00 p.m. (prevailing Eastern time) on the date which is fifteen (15) days after the date
of the Sale Hearing (the "Outside Back-up Date"); provided, however, that notwithstanding the
foregoing, in no event shall the Outside Back-up Date be later than November 30, 2017, or (ii) the
date of closing of an Alternative Transaction with the Prevailing Bidder. Following the Sale Hearing
and prior to the Outside Back-up Date, if the Prevailing Bidder fails to consummate the applicable
Alternative Transaction as a result of a breach or failure to perform on the part of such Prevailing
Bidder, the Back-up Bidder will be deemed to have the new prevailing bid, and the Sale Order shall
provide that Sellers will be authorized, without further order of the Bankruptcy Court, to
consummate the transactions contemplated by this Agreement on the terms and conditions set forth
in this Agreement (as the same may be improved upon in the Auction) with the Back-up Bidder.

              (d)     The Sellers shall promptly serve true and correct copies of the Sale and
Bidding Procedures Motion and all related pleadings in accordance with the Bidding Procedures
Order, the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the Local Rules for the
Bankruptcy Court and any other applicable order of the Bankruptcy Court.

         8.3.   Sale Order. The Sale Order shall be entered by the Bankruptcy Court and shall not be
subject to Rules 6004(h) and 6006(d) of the Federal Rules of Bankruptcy Procedure. The Sale Order
shall, among other things, (i) approve, pursuant to Sections 105, 363 and 365 of the Bankruptcy
Code, (A) the execution, delivery and performance by Sellers of this Agreement, (B) the sale of the
Purchased Assets to Purchaser on the terms set forth herein and free and clear of all Claims,
Liabilities and Encumbrances (other than Liabilities and Encumbrances included in the Assumed
Liabilities and Permitted Encumbrances), and (C) the performance by Seller of its obligations under
this Agreement; (ii) authorize and empower Sellers to assume and assign to Purchaser the Assigned
Contracts; and (iii) find that Purchaser is a "good faith" Purchaser within the meaning of Section
363(m) of the Bankruptcy Code, not a successor to any Seller and grant Purchaser the protections of
Section 363(m) of the Bankruptcy Code. Purchaser agrees that it will promptly take such actions as
are reasonably requested by Sellers to assist in obtaining Bankruptcy Court approval of the Sale
Order, including furnishing affidavits or other documents or information for filing with the
Bankruptcy Court for purposes, among others, of (a) demonstrating that Purchaser is a "good faith"
purchaser under Section 363(m) of the Bankruptcy Code, and (b) establishing adequate assurance of
future performance within the meaning of Section 365 of the Bankruptcy Code.

        8.4.    Contracts. Sellers shall serve on all non-Seller counterparties to all of their Contracts
a notice specifically stating that Sellers are or may be seeking the assumption and assignment of such
Contracts and shall notify such non-Seller counterparties of the deadline for objecting to the Cure
Amounts, if any, which deadline shall not be less than three (3) Business Days prior to the Sale
Hearing.

         8.5.    Bankruptcy Filings. From and after the Agreement Date and until the Closing Date,
Sellers shall deliver to Purchaser drafts of any and all material pleadings, motions, notices,
statements, schedules, applications, reports and other papers to be filed or submitted in connection
with this Agreement for Purchaser's prior review and comment, including any Tax motions, and such
filings shall be acceptable to Purchaser in its sole discretion to the extent they relate to the Purchased
Assets, any Assumed Liabilities or any of Purchaser's obligations hereunder. Sellers agree to

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diligently prosecute the entry of the Bidding Procedures Order and the Sale Order. In the event the
entry of the Bidding Procedures Order or the Sale Order shall be appealed, Sellers shall use their best
efforts to defend such appeal. Sellers shall comply with all notice requirements (i) of the Bankruptcy
Code and the Federal Rules of Bankruptcy Procedure, or (ii) imposed by the Sale Order, in each case,
in connection with any pleading, notice or motion to be filed in connection herewith.

        8.6.     Sale Free and Clear. Sellers acknowledge and agree, and the Sale Order shall provide
that, on the Closing Date and concurrently with the Closing, all then existing or thereafter arising
obligations, Liabilities and Encumbrances of, against or created by Seller or its bankruptcy estate, to
the fullest extent permitted by Section 363 of the Bankruptcy Code, shall be fully released from and
with respect to the Purchased Assets. On the Closing Date, the Purchased Assets shall be transferred
to Purchaser free and clear of all obligations, Liabilities and Encumbrances, other than Permitted
Encumbrances and the Assumed Liabilities to the fullest extent permitted by Section 363 of the
Bankruptcy Code.

                                            ARTICLE IX.

                                COVENANTS AND AGREEMENTS

        9.1.     Conduct of Business of Sellers. During the Pre-Closing Period, Sellers shall use
commercially reasonable efforts, except as otherwise required, authorized or restricted pursuant to
the Bankruptcy Code or an Order of the Bankruptcy Court, to operate the Business in the Ordinary
Course of Business (among other things, Sellers will not incur unreasonable liabilities, including,
without limitation, inappropriate increases in Inventory or factoring of accounts receivable). Sellers
shall use commercially reasonable efforts to (A) preserve intact their respective business
organizations, (B) maintain the Business and the Purchased Assets (normal wear and tear excepted),
(C) keep available the services of its officers and Employees, (D) maintain satisfactory relationships
with licensors, licensees, suppliers, contractors, distributors, consultants, customers, vendors and
others having business relationships with Sellers in connection with the operation of the Business
(other than payment of pre-petition claims), (E) subject to the terms and any restrictions arising under
or in connection with any Bankruptcy Court approved debtor-in-possession financing facility, pay all
of its post-petition obligations in the Ordinary Course of Business, and (F) continue to operate the
Business and Purchased Assets in all material respects in compliance with all Laws applicable to the
Business and Sellers. Without limiting the generality of the foregoing, and except (i) as otherwise
expressly provided in or contemplated by this Agreement, or (ii) required, authorized or restricted
pursuant to the Bankruptcy Code or an Order of the Bankruptcy Court, on or prior to the Closing
Date, Sellers may not, without the prior written consent of Purchaser, which consent may be
withheld, denied, delayed or conditioned in Purchaser's sole and exclusive discretion, take any of the
following actions with respect to the Business or the Purchased Assets:

               (a)      other than as set forth in Schedule 9.1(a), (i) modify in any manner the
compensation of any of the Employees or officers, or accelerate the payment of any such
compensation (other than such that the liability associated with such modification is excluded from
the Assumed Liabilities), (ii) grant any (a) bonuses, whether monetary or otherwise, (b) increase
wages or salary or (c) increase other compensation or material benefits, in any case, in respect of any
current or former employee, independent contractor, director or officer of the Seller;




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              (b)     engage any new Employee other than in the Ordinary Course of Business,
provided, however, that Sellers shall not engage any new Employee whose aggregate annual salary
exceeds $100,000;

                (c)      except as set forth in Schedule 9.1(c), remove or permit to be removed from
any building, facility, or real property any asset or any Inventory (other than in connection with the
sale of Inventory in the Ordinary Course of Business and the sale of fixtures, equipment and related
assets in connection with the closing of stores in an amount not to exceed $50,000);

                (d)     sell, lease or otherwise dispose of mortgage, hypothecate or otherwise
encumber any asset (other than sales of Inventory in the Ordinary Course of Business and other than
any liens provided for in the DIP Order);

               (e)      amend, terminate or renew any Contract other than (i) in the Ordinary Course
of Business or (ii) outside of the Ordinary Course of Business, which results in an increase in the
term of any such Contract by more than one (1) year or results in an obligation of Sellers in excess of
$25,000;

                  (f)    fail to use commercially reasonable efforts to maintain the validity of Sellers'
rights in, to or under any Intellectual Property;

                 (g)    fail to use commercially reasonable efforts to maintain all material Permits of
Sellers used in the operation of the Business or the Purchased Assets;

                 (h)    make any unusual or extraordinary efforts to collect any outstanding
Accounts Receivable or intercompany obligation, liability or Indebtedness, give any discounts or
concessions for early payment of such accounts receivable or intercompany obligation, liability or
Indebtedness, other than the usual discounts given by the Business in the Ordinary Course of
Business and make any sales of, or, other than liens provided for in the DIP Order, convey any
interest in, any accounts receivable or intercompany obligation, liability or Indebtedness to any third
party;

                (i)     other than transactions pursuant to agreements or arrangements in effect on
the Petition Date as set forth on Schedule 9.1(i), engage in any transaction with any Affiliate,
subsidiary, shareholder, officer or director of any Seller (other than in the Ordinary Course of
Business), incur or assume any long term or short term debt with or on behalf of any such Person or
guarantee, endorse or otherwise be liable or responsible (whether directly, indirectly, contingently or
otherwise) for the obligations of any such Person;

                  (j)      make any change in their method of accounting, except in accordance with
GAAP;

               (k)      fail to maintain any insurance policy in effect on the date hereof or amend
any such policy other than extensions in the Ordinary Course of Business;

                  (l)      accelerate the payment of any obligation, Liability or Indebtedness of any
Seller;




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                 (m)     file any Tax Return (other than consistent with past practice and applicable
Law) or make, change or rescind any Tax election or file any amended Tax Return or change its
fiscal year or financial or Tax accounting methods, policies or practices or settle any Tax Liability,
except in each case as would not reasonably be expected to result in any Liability to, or have any
adverse effect on, the Purchaser or the Business;

                (n)     enter into, termination of, adoption of or amendment to any Benefit Plan
(other than amendments required by law or to maintain the tax qualified status of any Benefit Plan
under Section 401(a) of the Code), any change in control or severance agreement or any other
Benefit Plan or collective bargaining agreement;

               (o)     loan to, or entry into any other transaction (other than in the Ordinary Course
of Business) with, any employee, officer, director or independent contractor;

               (p)      settle or agree to settle any pending or threatened litigation, except to the
extent that such settlement is either (i) pursuant to an insured claim; (ii) less than $50,000 or (iii)
approved by the Bankruptcy Court;

               (q)     other than transactions pursuant to agreements or arrangements in effect as set
forth in Schedule 9.1(q), enter into new agreements to construct or remodel any of Sellers' facilities;

               (r)    engage in substantive discussion with any Governmental Body related to any
alleged or actual non-compliance with Environmental Laws without at least three days advance
notice to Purchaser or enter into any settlement thereof including fines or payments in excess of
$50,000 or otherwise providing for injunctive relief of any kind;

               (s)   agree with the applicable landlord to a modification of terms of the existing
Lease for any Assumed Leased Real Property; and

                  (t)      agree, whether in writing or otherwise, to do any of the foregoing.

        9.2.     Access to Information. Sellers agree that, between the Agreement Date and the earlier
of the Closing Date and the date on which this Agreement is terminated in accordance with Section
4.4, Purchaser shall be entitled, through its officers, employees, legal counsel, accountants and other
authorized representatives, agents and contractors ("Representatives"), to have such reasonable
access to and make such reasonable investigation and examination of the books and records,
properties, businesses, assets, Employees, accountants, auditors, counsel and operations of Sellers as
Purchaser's Representatives may reasonably request. Any such investigations and examinations shall
be conducted during regular business hours upon reasonable advance notice and under reasonable
circumstances. Sellers shall use commercially reasonable efforts to cause their Representatives to
reasonably cooperate with Purchaser and Purchaser's Representatives in connection with such
investigations and examinations, and Purchaser shall, and use its commercially reasonably efforts to
cause its Representatives to, reasonably cooperate with the Sellers and their Representatives, and
shall use its commercially reasonable efforts to minimize any disruption to the Business.

        9.3.   Assignability of Certain Contracts. To the extent that the assignment to Purchaser of
any Assigned Contract pursuant to this Agreement is not permitted without the consent of a third
party and such restriction cannot be effectively overridden or canceled by the Sale Order or other
related order of the Bankruptcy Court, then this Agreement will not be deemed to constitute an

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assignment of or an undertaking or attempt to assign such Contract or any right or interest therein
unless and until such consent is obtained; provided, however, that the Parties will use their
commercially reasonable efforts, before the Closing, to obtain all such consents; provided, further,
that if any such consents are not obtained prior to the Closing Date, Sellers and Purchaser will
reasonably cooperate with each other in any lawful and feasible arrangement designed to provide
Purchaser with the benefits and obligations of any such Contract and Purchaser shall be responsible
for performing all obligations under such Contract required to be performed by Sellers on or after the
Closing Date to the extent set forth in this Agreement.

       9.4.    Rejected Contracts. Sellers shall not reject any Assigned Contract in any bankruptcy
proceeding following the Agreement Date without the prior written consent of Purchaser, which
Purchaser may withhold, condition or delay, in its sole discretion.

         9.5.     Reasonable Efforts; Cooperation.

                (a)      Subject to the other provisions hereof, each Party shall use its commercially
reasonable efforts to perform its obligations hereunder and to take, or cause to be taken, and do, or
cause to be done, all things necessary, proper or advisable under applicable Law to cause the
transactions contemplated herein to be effected as soon as practicable, but in any event on or prior to
the Outside Date, in accordance with the terms hereof and shall cooperate in a commercially
reasonable manner with each other Party and its Representatives in connection with any step required
to be taken as a part of its obligations hereunder.

                (b)     In the event that any of the Parties to this Agreement discovers a Contract
related to the Business, the Purchased Assets or the Assumed Liabilities during the period from and
after the Agreement Date, and such Contract (i) was unknown as of the Agreement Date, (ii) is a
Contract that Purchaser wishes to assume the rights and obligations of and (iii) such Contract would
not be deemed an Excluded Contract by Seller, Purchaser and Sellers shall execute, acknowledge and
deliver such other instruments and take such further actions as are reasonably practicable for
Purchaser to assume the rights and obligations under such Contract.

                 (c)    The obligations of Sellers pursuant to this Section 9.5 shall be subject to any
orders entered, or approvals or authorizations granted or required, by or under the Bankruptcy Court
or the Bankruptcy Code (including in connection with the Bankruptcy Case), and Sellers' obligations
as a debtor-in-possession to comply with any order of the Bankruptcy Court (including the Bidding
Procedures Order and the Sale Order) and Sellers' duty to seek and obtain the highest or otherwise
best price for the Business as required by the Bankruptcy Code.

                 (d)     Sellers, on the one hand, and Purchaser, on the other hand, will provide each
other with such cooperation and information as either of them may reasonably request of the other in
connection with filing any Tax Return, amended Tax Return or claim for refund, determining a
liability for Taxes or a right to a refund of Taxes, or participating in or conducting any audit or other
proceeding in respect of Taxes (such cooperation and information shall include providing copies of
relevant Tax Returns or portions thereof, together with intercompany schedules, related work papers
and documents relating to rulings and other determinations by Tax authorities). In addition,
Purchaser shall make available to Sellers, without charge to Sellers, such office space and employee
support reasonably necessary to assist Sellers to wind up Sellers' operations following the Closing,
resolve the Bankruptcy Case, dissolve any or all of the Seller and prepare and file the Tax Returns.
Any information obtained under this Section 9.5(d) shall be kept confidential except as may be

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otherwise necessary in connection with the filing of Tax Returns or claims for refund or in
conducting any audit or other proceeding.

                  (e)     Sellers, on the one hand, and Purchaser, on the other hand, (i) shall promptly
inform each other of any communication from any Governmental Body concerning this Agreement,
the transactions contemplated hereby, and any filing, notification or request for approval and (ii)
shall permit the other to review in advance any proposed written or material oral communication or
information submitted to any such Governmental Body in response thereto. In addition, none of
Parties shall agree to participate in any meeting with any Governmental Body in respect of any
filings, investigation or other inquiry with respect to this Agreement or the transactions contemplated
hereby, unless such Party consults with the other Parties in advance and, to the extent permitted by
any such Governmental Body, gives the other Parties the opportunity to attend and participate
thereat, in each case to the maximum extent practicable. Subject to restrictions under any Law, each
of Purchaser, on the one hand, and Sellers, on the other hand, shall furnish the other with copies of all
correspondence, filings and communications (and memoranda setting forth the substance thereof)
between it and its Affiliates and their respective Representatives on the one hand, and the
Governmental Body or members of its staff on the other hand, with respect to this Agreement, the
transactions contemplated hereby (excluding documents and communications which are subject to
preexisting confidentiality agreements or to the attorney-client privilege or work product doctrine or
which refer to valuation of the Business) or any such filing, notification or request for approval. Each
Party shall also furnish the other Party with such necessary information and assistance as such other
Party and its Affiliates may reasonably request in connection with their preparation of necessary
filings, registration or submissions of information to the Governmental Body in connection with this
Agreement, the transactions contemplated hereby and any such filing, notification or request for
approval.

        9.6.     Further Assurances. Each Party shall execute and cause to be delivered to each other
Party such instruments and other documents, and shall take such other actions, as such other Party
may reasonably request (prior to, at or after the Closing) for the purpose of carrying out or
evidencing any of the transactions contemplated by this Agreement. After the Closing, Sellers shall
promptly transfer or deliver to Purchaser cash, checks (which shall be properly endorsed) or other
property that Sellers may receive in respect of any deposit, prepaid expense, receivable or other item
that constitutes part of the Purchased Assets or relates to the Assumed Liabilities.

        9.7.    Notification of Certain Matters. Sellers shall give prompt notice to Purchaser, and
Purchaser shall give prompt notice to Sellers, of (i) any notice or other communication from any
Person alleging that the consent of such Person which is or may be required in connection with the
transactions contemplated by this Agreement or the Ancillary Documents is not likely to be obtained
prior to Closing, (ii) any written objection or proceeding that challenges the transactions
contemplated hereby or the entry of the approval of the Bankruptcy Court and (iii) the status of
matters relating to the completion of the transactions contemplated hereby, including promptly
furnishing the other with copies of notices or other communications received by Sellers or Purchaser
or by any of their respective Affiliates (as the case may be), from any third party and/or any
Governmental Body with respect to the transactions contemplated by this Agreement.

         9.8.     Confidentiality.

              (a)    Purchaser acknowledges that the confidential information provided to it in
connection with this Agreement, including under Section 9.2, and the consummation of the

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transactions contemplated hereby, is subject to the Purchaser's covenant and agreement to maintain
the confidentiality thereof.

                 (b)     Following the completion of the Auction, Sellers agree to maintain, unless
disclosure is required by applicable Law, the confidentiality of any confidential information
regarding the Business which is in Sellers' possession or of which any Seller is aware. Sellers hereby
further agree, unless disclosure is required by applicable Law, to take all appropriate steps, consistent
with Sellers' past practice, to safeguard such confidential information and to protect it against
disclosure, misuse, loss and theft. In furtherance and not in limitation of the foregoing, Sellers shall
not, unless required by applicable Law, disclose to any Person (a) any confidential information
regarding the Business, provided, that confidential information shall not include information that
becomes generally available to the public other than as a result of the breach of this Section 9.8(b) or
information not otherwise known by the Sellers that becomes available to Sellers from a Person other
than Purchaser, or (b) any of the discussions or negotiations conducted with Purchaser in connection
with this Agreement, provided, that Sellers shall be entitled to disclose (i) any information required
to be disclosed by Sellers to the Bankruptcy Court, the United States Trustee, parties in interest in the
Bankruptcy Case, other Persons bidding on assets of Sellers, (ii) any information required to be
disclosed by Sellers pursuant to any applicable Law (including, without limitation, the Bankruptcy
Code), legal proceeding or Governmental Body, or (iii) any information to Sellers' counsel and
financial advisor; provided, that in each case, such disclosure shall be limited to the information that
is so required to be disclosed and the Person(s) to whom such disclosure is required. Notwithstanding
anything in this Section 9.8 to the contrary, unless disclosure is required by applicable Law, the
confidentiality of any trade secrets of the Business shall be maintained for so long as such trade
secrets continue to be entitled to protection as trade secrets of the Business.

        9.9.    Preservation of Records. Sellers (or any subsequently appointed bankruptcy estate
representative, including, but not limited to, a trustee, a creditor trustee or a plan administrator) and
Purchaser agree that each of them shall preserve and keep the books and records held by it relating to
the pre-Closing Business for a period of three (3) months from the Closing Date and shall make such
books and records available to the other Parties (and permit such other Party to make extracts and
copies of such books and records at its own expense) as may be reasonably required by such Party in
connection with, among other things, any insurance claims by, legal proceedings or Tax audits
against or governmental investigations of Sellers or Purchaser or in order to enable Sellers or
Purchaser to comply with their respective obligations under this Agreement and each other
agreement, document or instrument contemplated hereby or thereby. In the event Sellers, on the one
hand, or Purchaser, on the other hand, wish to destroy such records during such three (3) month
period, such Party shall first give twenty (20) days' prior written notice to the other and such other
Party shall have the right at its option and expense, upon prior written notice given to such Party
within that twenty (20) day period, to take possession of the records within thirty (30) days after the
date of such notice.

        9.10. Publicity. Neither Sellers nor Purchaser shall issue any press release or public
announcement concerning this Agreement or the transactions contemplated hereby without obtaining
the prior written approval of the other party hereto, which approval will not be unreasonably
withheld or delayed, unless, in the sole judgment of Purchaser or Sellers, disclosure is otherwise
required by applicable Law or by the Bankruptcy Court with respect to filings to be made with the
Bankruptcy Court in connection with this Agreement; provided, that the party intending to make such
release shall use its best efforts consistent with such applicable Law or Bankruptcy Court
requirement to consult with the other party with respect to the text thereof.

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       9.11. Material Adverse Effect. Sellers shall promptly inform Purchaser in writing of the
occurrence of any event that has had, or is reasonably expected to have, a Material Adverse Effect.

        9.12. Casualty Loss. Notwithstanding any provision of this Agreement to the contrary, if,
before the Closing, all or any portion of the Purchased Assets is (a) condemned or taken by eminent
domain, or (b) is damaged or destroyed by fire, flood or other casualty, Sellers shall notify Purchaser
promptly in writing of such fact, (i) in the case of condemnation or taking, Sellers shall assign or pay,
as the case may be, any proceeds thereof to Purchaser at the Closing, and (ii) in the case of fire, flood
or other casualty, Sellers shall assign the insurance proceeds therefrom to Purchaser at Closing.
Notwithstanding the foregoing, the provisions of this Section 9.12 shall not in any way modify
Purchaser's other rights under this Agreement, including any applicable right to terminate the
Agreement if any condemnation, taking, damage or other destruction resulted in a Material Adverse
Effect.

         9.13. No Successor Liability. The Parties intend that, except where expressly prohibited
under applicable Law, upon the Closing, Purchaser shall not be deemed to: (i) be the successor of
Sellers, (ii) have, de facto, or otherwise, merged with or into Sellers, (iii) be a mere continuation or
substantial continuation of Sellers or the enterprise(s) of Sellers, or (iv) be liable for any acts or
omissions of Sellers in the conduct of the Business or arising under or related to the Purchased Assets
other than as set forth in this Agreement. Without limiting the generality of the foregoing, and except
as otherwise provided in this Agreement, the Parties intend that Purchaser shall not be liable for any
Encumbrance (other than Assumed Liabilities and Permitted Encumbrances) against Sellers or any of
Sellers' predecessors or Affiliates, and Purchaser shall have no successor or vicarious liability of any
kind or character whether known or unknown as of the Closing Date, whether now existing or
hereafter arising, or whether fixed or contingent, with respect to the Business, the Purchased Assets
or any Liabilities of Seller arising prior to the Closing Date. The Parties agree that the provisions
substantially in the form of this Section 9.13 shall be reflected in the Sale Order.

        9.14. Change of Name. Promptly following the Closing, Sellers shall, and shall cause their
direct and indirect Subsidiaries to, discontinue the use of its current name (and any other trade names
or "d/b/a" names currently utilized by Sellers or its direct or indirect Subsidiaries) and shall not
subsequently change its name to or otherwise use or employ any name which includes the words
"Cleaning Solutions", "Paramount Building Solutions", or any derivation thereof, without the prior
written consent of Purchaser, and Sellers shall cause the names of Sellers in the caption of the
Bankruptcy Case to be changed to new name of Seller.

        9.15. Receivables. From and after the Closing, if Seller receives or collects any funds
relating to Accounts Receivable, in respect of the Purchased Assets, Seller shall remit such funds to
Purchaser within Five Business Days after its receipt thereof.

         9.16     Government Approvals.

                (a)     Subject to Section 9.16(c), as soon as reasonably practicable, Sellers, and
Purchaser shall each prepare and file, or cause to be prepared and filed, an appropriate filing of a
Notification and Report Form (the "HSR Filing") pursuant to the HSR Act with the United States
Federal Trade Commission ("FTC") and the United States Department of Justice ("DOJ"), and
request early termination of the waiting period under the HSR Act. Subject to the limitations set forth
in this Section 9.16, each party shall promptly respond to any requests for additional information in



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connection with such filings and shall take all other reasonable actions to cause the waiting periods
under the HSR Act to terminate or expire at the earliest possible date after the date of filing.

                (b)     In addition to the actions to be taken under Section 9.16(a), during the period
prior to the Closing Date, Sellers and Purchaser shall act diligently and reasonably, and shall
cooperate with each other, to do or cause to be done, all things necessary, proper or advisable
consistent with applicable confidentiality and Legal Requirements to cause the conditions precedent
to the Closing to be satisfied and to cause the Closing to occur, including to secure any consents and
approvals of any Governmental Body required to be obtained by them under non-United States
antitrust or competition laws, in order to assign or transfer any Permits to Purchaser, to permit the
consummation of the transactions contemplated by this Agreement, or to otherwise satisfy the
conditions set forth in Article VIII, in each case as necessary to the extent such consents are not
provided for or satisfied by the Sale Order; provided, however, that Sellers shall not make any
agreement or understanding affecting the Purchased Assets or the Business (excluding the Excluded
Assets or Excluded Liabilities) as a condition for obtaining any such consents or approvals except
with the prior written consent of Purchaser. Subject to the limitations set forth in this Section 9.16,
Purchaser shall act diligently and reasonably to cooperate with Sellers, to the extent commercially
reasonable, to obtain the consents and approvals contemplated by this Section 9.16(b); provided,
however, Purchaser shall not be required to waive any of the conditions to Closing set forth in Article
X.

                 (c)      Subject to all applicable confidentiality and Legal Requirements, each Seller
and Purchaser (i) shall promptly inform each other of any communication from any Governmental
Body concerning this Agreement, the transactions contemplated hereby, and any filing, notification
or request for approval and (ii) shall permit the other Party to review in advance any proposed written
communication or information submitted to any such Governmental Body in response thereto;
provided, however, that no Party shall be required to provide any other Party with copies of
confidential documents or information included in its filings and submissions under the HSR Act,
and provided, further, that a Party may request entry into a joint defense agreement as a condition to
providing any such materials and that, upon receipt of that request, the Parties shall work in good
faith to enter into a joint defense agreement to create and preserve attorney-client privilege in a form
and substance mutually acceptable to the Parties. In addition, none of Parties shall agree to
participate in any meeting with any Governmental Body in respect of any filings, investigation or
other inquiry with respect to this Agreement or the transactions contemplated hereby, unless such
Party consults with the other Parties in advance and, to the extent permitted by any such
Governmental Body, gives the other Parties the opportunity to attend and participate thereat, in each
case to the maximum extent practicable. Subject to any restrictions under applicable laws, rules or
regulations, each Party shall furnish the other with copies of all correspondence, filings and
communications (and memoranda setting forth the substance thereof) between it and its Affiliates
and their respective Representatives on the one hand, and the Governmental Body or members of its
staff on the other hand, with respect to this Agreement, the transactions contemplated hereby
(excluding documents and communications which are subject to preexisting confidentiality
agreements or to the attorney-client privilege or work product doctrine) or any such filing,
notification or request for approval. Each Party shall also furnish the other Party with such necessary
information and assistance as such other party and its Affiliates may reasonably request in
connection with their preparation of necessary filings, registration or submissions of information to
the Governmental Body in connection with this Agreement, the transactions contemplated hereby
and any such filing, notification or request for approval. Sellers and Purchaser shall prosecute all


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required requests for approval with all necessary diligence and otherwise use their respective
commercially reasonable efforts to obtain the grant thereof by an Order as soon as possible.

                (d)      Notwithstanding anything else to the contrary in this Agreement, in the event
that any administrative or judicial action or proceeding is instituted (or threatened to be instituted) by
a Governmental Body or private party challenging the transactions hereunder or any other agreement
contemplated hereby, (i) each Party shall cooperate in all respects with each other and use its
respective best efforts to contest and resist any such action or proceeding and to have vacated, lifted,
reversed or overturned any decree, judgment, injunction or other order, whether temporary,
preliminary or permanent, that is in effect and that prohibits, prevents or restricts consummation of
the transactions contemplated by this Agreement, and (ii) Purchaser must defend, at its sole cost and
expense, any action or actions, whether judicial or administrative, in connection with the transactions
contemplated by this Agreement. Notwithstanding the foregoing, in no event shall Purchaser be
required to divest any of the Purchased Assets in order to comply with this Section 9.16(d).

                                             ARTICLE X.

                                    CONDITIONS TO CLOSING

        10.1. Conditions Precedent to the Obligations of Purchaser and Sellers. The respective
obligations of each Party to this Agreement to consummate the transactions contemplated by this
Agreement are subject to the satisfaction (or to the extent permitted by Law, written waiver by each
of the Sellers and Purchaser) on or prior to the Closing Date, of each of the following conditions:

              (a)     there shall not be in effect any order, writ, injunction, judgment or decree
entered by a Governmental Body of competent jurisdiction, or any Law preventing, enjoining,
restraining, making illegal or otherwise prohibiting the consummation of the transactions
contemplated by this Agreement or the Ancillary Documents; and

               (b)     the Bankruptcy Court shall have entered the Bidding Procedures Order and
the Sale Order (as provided in Article VIII) and each of such orders shall be a Final Order and in
form and substance reasonably satisfactory to Sellers and Purchaser, which orders shall not have
been reversed, modified, amended or stayed.

         10.2. Conditions Precedent to the Obligations of Sellers. The obligations of Sellers to
consummate the transactions contemplated by this Agreement are subject to the fulfillment, on or
prior to the Closing Date, of each of the following conditions, any of which may be waived in writing
by Seller in their sole discretion:

                (a)     the representations and warranties made by Purchaser in this Agreement or in
any Ancillary Document shall be true and correct in all material respects (without giving effect to
any materiality or similar qualification contained therein), in each case as of the Agreement Date and
as of the Closing Date, with the same force and effect as though all such representations and
warranties had been made as of the Closing Date (other than representations and warranties that by
their terms address matters only as of another specified date, which shall be so true and correct only
as of such other specified date), except where the failure of such representations or warranties to be
so true and correct has not had, and would not reasonably be expected to have, individually or in the
aggregate, a Material Adverse Effect on Purchaser's ability to consummate the transactions
contemplated hereby;

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               (b)      Purchaser shall have performed and complied in all material respects with all
obligations and agreements required by this Agreement to be performed or complied with by
Purchaser on or prior to the Closing Date; and

                 (c)     Purchaser shall have delivered, or caused to be delivered, to Seller all of the
items set forth in Section 4.3.

         10.3. Conditions Precedent to the Obligations of Purchaser. The obligations of Purchaser to
consummate the transactions contemplated by this Agreement are subject to the fulfillment, on or
prior to the Closing Date, of each of the following conditions, any of which may be waived in writing
by Purchaser in its sole discretion:

                (a)    Sellers shall have delivered to Purchaser (i) a file-stamped copy of the Sale
Order (which shall contain the terms described in Section 8.3) and (ii) copies of all affidavits of
service of the Sale Motion or notice of such motion filed by or on behalf of Seller (which service
shall comply with Section 8.2(d));

                (b)      the representations and warranties made by each Seller in this Agreement or
in any Ancillary Document shall be true and correct in all material respects (provided that any such
representation or warranty that is subject to any materiality, Material Adverse Effect or similar
qualification shall be true and correct in all respects after giving effect to any such qualification), in
each case as of the Agreement Date and as of the Closing Date, with the same force and effect as
though all such representations and warranties had been made as of the Closing Date (other than
representations and warranties that by their terms address matters only as of another specified date,
which shall be so true and correct only as of such other specified date);

                 (c)    Sellers shall have performed and complied in all material respects with all
obligations and agreements required in this Agreement to be performed or complied with by them on
or prior to the Closing Date;

                 (d)     Sellers shall have delivered, or caused to be delivered, to Purchaser, all of the
items set forth in Section 4.2; and

              (e)    Sellers shall have complied with the sale process deadlines set forth in the
Bidding Procedures Order.

                                            ARTICLE XI.

                                                TAXES

         11.1.    Certain Taxes.

         Any sales, use, purchase, transfer, franchise, deed, fixed asset, stamp, documentary stamp,
use or other Taxes and recording charges which may be payable by reason of the sale of the
Purchased Assets or the assumption of the Assumed Liabilities under this Agreement or the
transactions contemplated hereby, and that are not exempt under Section 1146(a) of the Bankruptcy
Code, shall be borne and timely paid by the Sellers. The Sellers shall, at their own expense, timely
file any Tax Return or other document required to be filed with respect to such Taxes, and Purchaser
shall join in the execution of any such Tax Return if required by Law.


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         11.2.    Allocation of Purchase Price.

        As soon as reasonably practicable after the Closing Date, the Purchaser shall determine the
allocation of (a) the Purchase Price, plus (b) the Assumed Liabilities, plus (c) all other items required
to be treated as consideration for federal income Tax purposes, among the Purchased Assets and the
agreements provided for herein, for all purposes (including financial, accounting and Tax) (the
"Allocation"). The Purchaser and the Sellers shall each report the federal, state and local income and
other Tax consequences of the transactions contemplated hereby in a manner consistent with the
Allocation, including, if applicable, the preparation and filing of Forms 8594 under Section 1060 of
the Code (or any successor form or successor provision of any future Tax Law) with their respective
federal income Tax Returns for the taxable year which includes the Closing Date, and neither will
take any position inconsistent with the Allocation unless otherwise required under applicable Law.
The Sellers shall provide the Purchaser and the Purchaser shall provide Sellers with a copy of any
information required to be furnished to the Secretary of the Treasury under Code Section 1060.

       11.3. Cooperation on Tax Matters. The Purchaser and the Sellers agree to provide each
other with such information and assistance as is reasonably necessary, including access to records,
Tax Returns and personnel, for the preparation of any Tax Returns or for the defense of any Tax
claim or assessment, whether in connection with a Tax Proceeding or otherwise.

       11.4. FIRPTA Certificate. The Sellers shall deliver to the Purchaser on the date hereof a
properly executed affidavit of non-foreign status, reasonably satisfactory to Purchaser, that complies
with Section 1445 of the Code and Section 1.1445-2(b)(2) of the Treasury Regulations (the
"FIRPTA Certificate"). If the Purchaser does not so receive a properly executed FIRPTA Certificate
from the Seller, then the Purchaser shall be permitted to withhold from any payment to be made (or
deemed to be made) pursuant to this Agreement to the Sellers any required withholding Tax under
Section 1445 of the Code as determined by the Purchaser. Any amounts withheld shall be treated for
all purposes of this Agreement as having been paid to the Sellers in respect of which such
withholding was made.

        11.5. Tax Refunds. The Sellers agree to cooperate with the Purchaser in all respects, and
take or cause to be taken any steps necessary, in order to apply for and obtain any Tax Refunds with
respect to Sellers for any taxable year, provided that the Purchaser pays all reasonable expenses
incurred in connection therewith.

                                            ARTICLE XII.

                                         MISCELLANEOUS

        12.1. Payment of Expenses. Except as otherwise provided in this Agreement (including,
but not limited to Section 4.5 and Section 8.1) and whether or not the transactions contemplated
hereby are consummated, Sellers and the Purchaser shall bear their own expenses incurred or to be
incurred in connection with the negotiation and execution of this Agreement and the Ancillary
Documents and the consummation of the transactions contemplated hereby and thereby.

       12.2. Survival of Representations and Warranties; Survival of Confidentiality. The Parties
agree that the representations and warranties contained in this Agreement shall expire upon the
Closing Date. The Parties agree that the covenants contained in this Agreement to be performed at or



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after the Closing shall survive in accordance with the terms of the particular covenant or until fully
performed.

        12.3. Entire Agreement; Amendments; Waivers. This Agreement, together with the
Ancillary Documents, represents the entire understanding and agreement between the Parties with
respect to the subject matter hereof. This Agreement may be amended, supplemented or changed, and
any provision hereof may be waived, only by written instrument making specific reference to this
Agreement signed by the Party against whom enforcement of any such amendment, supplement,
modification or waiver is sought; provided, that the Schedules hereto may be amended in accordance
with Section 2.6. No action taken pursuant to this Agreement, including any investigation by or on
behalf of any Party shall be deemed to constitute a waiver by the Party taking such action of
compliance with any representation, warranty, condition, covenant or agreement contained herein.
The waiver by any Party of a breach of any provision of this Agreement shall not operate or be
construed as a further or continuing waiver of such breach or as a waiver of any other or subsequent
breach. No failure on the part of any Party to exercise, and no delay in exercising, any right, power or
remedy hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of such
right, power or remedy by such Party preclude any other or further exercise thereof or the exercise of
any other right, power or remedy. All remedies hereunder are cumulative and are not exclusive of
any other remedies provided by applicable Law.

         12.4.    Execution of Agreement; Counterparts; Electronic Signatures.

                  (a)    This Agreement may be executed in several counterparts, each of which shall
be deemed an original and all of which shall constitute one and the same instrument, and shall
become effective when counterparts have been signed by each of the Parties and delivered to the
other Parties; it being understood that all Parties need not sign the same counterparts.

                 (b)     The exchange of copies of this Agreement and of signature pages by
facsimile transmission (whether directly from one facsimile device to another by means of a dial-up
connection or whether mediated by the worldwide web), by electronic mail in "portable document
format" (".pdf") form, or by any other electronic means intended to preserve the original graphic and
pictorial appearance of a document, or by combination of such means, shall constitute effective
execution and delivery of this Agreement as to the Parties and may be used in lieu of the original
Agreement for all purposes. Signatures of the Parties transmitted by facsimile shall be deemed to be
their original signatures for all purposes.

      12.5. Governing Law. THIS AGREEMENT IS TO BE GOVERNED BY AND
CONSTRUED IN ACCORDANCE WITH FEDERAL BANKRUPTCY LAW, TO THE EXTENT
APPLICABLE, AND WHERE STATE LAW IS IMPLICATED, THE LAWS OF THE STATE OF
NEW YORK SHALL GOVERN, WITHOUT GIVING EFFECT TO THE CHOICE OF LAW
PRINCIPLES THEREOF (EXCEPT FOR ANY LAWS OF THAT STATE WHICH WOULD
RENDER SUCH CHOICE OF LAWS INEFFECTIVE), INCLUDING ALL MATTERS OF
CONSTRUCTION, VALIDITY AND PERFORMANCE.

         12.6.    Jurisdiction, Waiver of Jury Trial.

           (a)   THE BANKRUPTCY COURT WILL HAVE JURISDICTION OVER ANY
AND ALL DISPUTES BETWEEN OR AMONG THE PARTIES, WHETHER AT LAW OR IN
EQUITY, ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY AGREEMENT

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CONTEMPLATED HEREBY; PROVIDED, HOWEVER, THAT IF THE BANKRUPTCY COURT
IS UNWILLING OR UNABLE TO HEAR ANY SUCH DISPUTE, THE COURTS OF THE
STATE OF ARIZONA AND THE FEDERAL COURTS OF THE UNITED STATES OF
AMERICA LOCATED IN MARICOPA COUNTY, ARIZONA WILL HAVE SOLE
JURISDICTION OVER ANY AND ALL DISPUTES BETWEEN OR AMONG THE PARTIES,
WHETHER AT LAW OR IN EQUITY, ARISING OUT OF OR RELATING TO THIS
AGREEMENT OR ANY AGREEMENT CONTEMPLATED HEREBY.

           (b)   EACH OF THE PARTIES HEREBY IRREVOCABLY WAIVES ANY
AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR
RELATED TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

        12.7. Notices. Unless otherwise set forth herein, any notices, consents, waivers and other
communications required or permitted by this Agreement shall be in writing and shall be deemed
given to a Party when (a) delivered to the appropriate address by hand or by nationally recognized
overnight courier service (costs prepaid), or (b) sent by facsimile or e-mail, in each case, if sent
during the normal business hours of the recipient, with confirmation of transmission by the
transmitting equipment confirmed with a copy delivered as provided in clause (a), in the case of each
of clauses (a) and (b), to the following addresses, facsimile numbers or e-mail addresses and marked
to the attention of the person (by name or title) designated below (or to such other address, facsimile
number, e-mail address or person as a Party may designate by notice to the other Parties):

         If to Seller, to:

         If to any Seller:                   Cleaning Solutions LLC.

         with courtesy copies to             Michael W. Carmel, Esq.
         (which shall not constitute         80 East Columbus Avenue
         Notice for purposes of this         Phoenix, AZ 85012
         Section 12):                        Email: michael@mcarmellaw.com

         If to Purchaser:                    DW Jade, LLC
                                             590 Madison Avenue, 13th Floor
                                             New York, NY 10022
                                             Attn: Houdin Honavar
                                             Email: dw.legal@dwpartners.com

         with courtesy copies to             Stinson Leonard Street, LLP
         (which shall not constitute         1850 N. Central Avenue, Suite 2100
         Notice for purposes of this         Phoenix AZ 85004-4584
         Section 12):                        Attn: Thomas J. Salerno
                                             Email: thomas.salerno@stinson.com


        12.8. Binding Effect; Assignment. This Agreement shall be binding upon Purchaser and,
subject to entry of the Bidding Procedures Order (with respect to the matters covered thereby) and
the Sale Order, Sellers, and inure to the benefit of the Parties and their respective successors and
permitted assigns, including any trustee or estate representative appointed in the Bankruptcy Case or


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any successor Chapter 7 case. Nothing in this Agreement shall create or be deemed to create any
third party beneficiary rights in any Person or entity not a party to this Agreement except as provided
below. No assignment of this Agreement or of any rights or obligations hereunder may be made by
Sellers or Purchaser (by operation of law or otherwise) without the prior written consent of the other
Parties and any attempted assignment without such required consents shall be void.

        12.9. Severability. Whenever possible, each provision or portion of any provision of this
Agreement shall be interpreted in such manner as to be effective and valid under applicable Law, but
if any provision or portion of any provision of this Agreement is held to be invalid, illegal or
unenforceable in any respect under any applicable Law in any jurisdiction, such invalidity, illegality
or unenforceability shall not affect any other provision or portion of any provision in such
jurisdiction and in lieu of such invalid, illegal or unenforceable provision or portion of any provision,
there will be added automatically as a part of this Agreement a valid legal and enforceable provision
as similar in terms to such invalid, illegal or unenforceable provision as may be possible.

        12.10. Bulk Sales Laws. Each Party hereby waives compliance by the Parties with the "bulk
sales," "bulk transfers" or similar Laws and all other similar Laws in all applicable jurisdictions in
respect of the transactions contemplated by this Agreement or any Ancillary Document.

        12.11. Access and Right to Use. Purchaser shall, upon reasonable advance notice, afford to
Sellers' officers, independent public accountants, attorneys, consultants and other representatives,
reasonable access during normal business hours to the Purchased Assets and all records pertaining to
the Purchased Assets on a royalty-free basis solely for the purpose of enabling the Sellers to conduct
an orderly wind-down of the Sellers' operations until such time as the wind-down is completed on or
before the one-year anniversary of this Agreement. Sellers expressly acknowledge that nothing in
this Section is intended to give rise to any contingency to Sellers' obligations to proceed with the
transactions contemplated herein.

                                 [Remainder of page intentionally left blank]
                                      [Signatures Follow Next Page]




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